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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                          §
In re:                                                    § Chapter 11
                                                          §
SAEXPLORATION HOLDINGS, INC., et                          § Case No. 20-34306 (MI)
al.,                                                      §
                                                          § (Jointly Administered)
                 Debtors.1                                §

     GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY,
      AND DISCLAIMERS REGARDING DEBTORS’ SCHEDULES OF ASSETS
        AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                  Introduction

        The Schedules of Assets and Liabilities (collectively, the “Schedules”) and Statements of
Financial Affairs (collectively, the “Statements,” and, together with the Schedules, the “Schedules
and Statements”) filed by SAExploration Holdings, Inc. (“SAE”) and its affiliates as debtors and
debtors-in-possession (collectively, the “Debtors”) in the United States Bankruptcy Court for the
Southern District of Texas (the “Bankruptcy Court”), were prepared in accordance with section
521 of title 11 of the United States Code (the “Bankruptcy Code”), and Rule 1007 of the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by management of the Debtors, with the
assistance of the Debtors’ professional advisors, and are unaudited.

        The Schedules and Statements have been signed by John Simmons, Vice President and
Chief Financial Officer of SAE. Mr. Simmons has not (nor could have) personally verified the
accuracy of each such statement and representation, including, for example, statements and
representations concerning amounts owed to creditors, classification of such amounts, and their
addresses. In addition, Mr. Simmons has not (nor could have) personally verified the completeness
of the Schedules and Statements, nor the accuracy of any information contained therein. In
reviewing and signing the Schedules and Statements, Mr. Simmons necessarily relied upon various
personnel of the Debtors and the Debtors’ professional advisors and their efforts, statements, and
representations in connection therewith. Although management has made reasonable efforts to
ensure that the Schedules and Statements are accurate and complete based upon information that
was available to them at the time of preparation, subsequent information or discovery thereof may
result in material changes to the Schedules and Statements, and inadvertent errors or omissions
may exist.



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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are as follows: SAExploration Holdings, Inc. (7100), SAExploration Sub, Inc. (8859),
    SAExploration, Inc. (9022), SAExploration Seismic Services (US), LLC (5057), and NES, LLC. The address of
    the Debtors’ headquarters is: 1160 Dairy Ashford Road, Suite 160, Houston, TX 77079.

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        These Global Notes and Statements of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are incorporated
by reference in, and comprise an integral part of all of the Schedules and Statements. The Global
Notes should be referred to and reviewed in connection with any review of the Schedules and
Statements. The Global Notes are in addition to any specific notes contained in any Debtor’s
Schedules or Statements. Disclosure of information in one Schedule, Statement, exhibit, or
continuation sheet, even if incorrectly placed, shall be deemed to be disclosed in the correct
Schedule, Statement, exhibit, or continuation sheet.

      The Schedules, Statements, and Global Notes should not be relied upon by any
persons for information relating to current or future financial conditions, events, or
performance of any of the Debtors.

                         Global Notes and Overview of Methodology

1.     General Reservation of Rights. Although the Debtors’ management has made every
       reasonable effort to ensure that the Schedules and Statements are as accurate and complete
       as possible under the circumstances based on information that was available to them at the
       time of preparation, subsequent information or discovery may result in material changes to
       the Schedules and Statements, and inadvertent errors or omissions may have occurred,
       some of which may be material. Because the Schedules and Statements contain unaudited
       information, which remains subject to further review, verification, and potential
       adjustment, there can be no assurance that the Schedules and Statements are complete. The
       Debtors reserve all rights to amend the Schedules and Statements from time to time, in any
       and all respects, as may be necessary or appropriate, including the right to dispute or
       otherwise assert offsets or defenses to any claim reflected in the Schedules and Statements
       as to amount, liability, or classification, or to otherwise subsequently designate any claim
       (“Claim”) as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained
       in the Schedules and Statements shall constitute an admission of any claims or a waiver of
       any of the Debtors’ rights with respect to these chapter 11 cases, including issues involving
       substantive consolidation, recharacterization, equitable subordination, and/or causes of
       action arising under the provisions of chapter 5 of the Bankruptcy Code and other relevant
       non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights
       contained elsewhere in the Global Notes does not limit in any respect the general
       reservation of rights contained in this paragraph.

2.     Description of Cases and “As Of” Information Date. On August 27, 2020 (the “Petition
       Date”), each of the Debtors filed voluntary petitions for relief under chapter 11 of the
       Bankruptcy Code in the Bankruptcy Court. The Debtors’ chapter 11 cases are jointly
       administered for procedural purposes only pursuant to an order entered by the Bankruptcy
       Court on August 28, 2020 [Docket No. 22]. The Debtors continue to operate their business
       and manage their properties as debtors-in-possession pursuant to sections 1107(a) and 1108
       of the Bankruptcy Code. No request for the appointment of a trustee or examiner has been
       made in these chapter 11 cases. Unless otherwise stated herein, assets and liabilities are
       reported as of July 31, 2020.



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3.     Basis of Presentation. The Schedules and Statements purport to reflect the assets and
       liabilities of separate Debtors. The Debtors, however, along with their wholly-owned non-
       Debtor subsidiaries, prepare financial statements for financial reporting purposes, which
       are audited annually, on a consolidated basis. The Debtors reserve all rights relating to the
       legal ownership of assets and liabilities among the Debtors and nothing in the Schedules
       or Statements shall constitute a waiver or relinquishment of such rights. Information
       contained in the Schedules and Statements has been derived from the Debtors’ books and
       records. The Schedules and Statements do not purport to represent financial statements
       prepared in accordance with Generally Accepted Accounting Principles nor are they
       intended to be fully reconcilable to audited financial statements.

4.     Totals. All totals that are included in the Schedules and Statements represent totals of all
       known amounts included in the Debtors’ books and records. To the extent there are
       unknown or undetermined amounts, the actual totals may be different than the listed total,
       and the difference may be material. In addition, the amounts shown for total liabilities
       exclude items identified as “unknown,” “disputed,” “contingent,” “unliquidated,” or
       “undetermined,” and, thus, ultimate liabilities may differ materially from those stated in
       the Schedules and Statements.

5.     Excluded Assets and Liabilities. The Debtors have excluded certain categories of assets
       and liabilities from the Schedules and Statements, including but not limited to certain
       deferred expenses and deferred revenue items, lease assets and related lease liabilities and
       certain accrued liabilities. The Debtors have also excluded potential claims arising on
       account of the potential rejection of executory contracts and unexpired leases, to the extent
       such claims exist. Certain immaterial assets and liabilities that are not reported or tracked
       centrally may have been excluded.

6.     Amendments and Supplements; All Rights Reserved. Reasonable efforts have been
       made to prepare and file complete and accurate Schedules and Statements; inadvertent
       errors or omissions, however, may exist. The Debtors reserve all rights, but are not
       required, to amend and/or supplement the Schedules and Statements from time to time as
       is necessary and appropriate.

7.     References. References to applicable loan agreements and related documents are necessary
       for a complete description of the collateral and the nature, extent, and priority of liens
       and/or claims. Nothing in the Global Notes or the Schedules and Statements shall be
       deemed a modification or interpretation of the terms of such agreements.

8.     Currency. All amounts are reflected in U.S. dollars. Amounts originally denominated in
       foreign currencies have been converted to US dollar equivalents in accordance with the
       Debtors pre-filing accounting practices.

9.     Book Value. Unless otherwise indicated, the Debtors’ assets and liabilities are shown on the
       basis of their net book values as of July 31, 2020. Thus, unless otherwise noted, the
       Schedules and Statements reflect the carrying value of the assets and liabilities as recorded
       on the Debtors’ books. Net book values may vary, sometimes materially, from market


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       values. The Debtors do not intend to amend these Schedules and Statements to reflect
       market values.

10.    Paid Claims. The Bankruptcy Court authorized the Debtors to pay certain outstanding
       prepetition Claims—including, but not limited to, payments to employees, customers, and
       certain vendors—pursuant to various “first day” orders entered by the Bankruptcy Court.
       Accordingly, certain outstanding liabilities as of the Petition Date may have been reduced
       by postpetition payments made on account of prepetition liabilities. Where the Schedules
       list creditors and set forth the Debtors’ scheduled amount of such Claims, such scheduled
       amounts reflect amounts owed as of the Petition Date, after incorporating invoices received
       postpetition for prepetition services. Where the Debtors made postpetition payments on
       certain prepetition claims pursuant to “first day” orders entered by the Bankruptcy Court,
       the Schedules mark such claims as contingent and unliquidated. In addition, to the extent
       the Debtors later pay any of the Claims listed in the Schedules and Statements pursuant to
       any orders entered by the Bankruptcy Court, the Debtors reserve all rights to amend or
       supplement the Schedules and Statements or take other action, such as filing Claim
       objections, as is necessary and appropriate to avoid overpayment or duplicate payments for
       liabilities.

11.    Recharacterization. Notwithstanding that the Debtors have made reasonable efforts to
       correctly characterize, classify, categorize, or designate certain Claims, assets, executory
       contracts, unexpired leases, and other items reported in the Schedules and Statements, the
       Debtors nonetheless may have improperly characterized, classified, categorized, or
       designated certain items. The Debtors reserve all rights to recharacterize, reclassify,
       recategorize, or re-designate items reported in the Schedules and Statements at a later time
       as they determine to be necessary and appropriate.

12.    Claims of Third-Party Entities. Although the Debtors have made reasonable efforts to
       classify properly each Claim listed in the Schedules as being either disputed or undisputed,
       liquidated or unliquidated, and/or contingent or non-contingent, the Debtors have not been
       able to fully reconcile all payments made to certain third-party entities on account of the
       Debtors’ obligations to both such entity and its affiliates. Therefore, to the extent that the
       Debtors have classified their estimate of Claims of a creditor as disputed, for example, all
       Claims of such creditor’s affiliates listed in the Schedules and Statements shall similarly be
       considered disputed, whether or not they are individually designated as such.

13.    Liabilities. The Debtors allocated liabilities between the prepetition and postpetition
       periods based on the information and research conducted in connection with the
       preparation of the Schedules and Statements. As additional information becomes available,
       and further research is conducted, particularly with respect to the Debtors’ payable
       accounts, the allocation of liabilities between the prepetition and postpetition periods may
       change. The Debtors reserve the right to, but are not required to, amend the Schedules and
       Statements as they deem appropriate to reflect this.

       The liabilities listed on the Schedules and Statements do not reflect any analysis of claims
       under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all
       rights to dispute or challenge the validity of any asserted claims under section 503(b)(9) of

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       the Bankruptcy Code or the characterization of the structure of any such transaction or any
       document or instrument related to any creditor’s Claim.

14.    Guarantees and Other Secondary Liability Claims. Where guarantees have been
       identified, they have been included in the relevant liability Schedule for the Debtor or
       Debtors affected by such guarantee. The Debtors have also listed such guarantees on the
       applicable Schedule H. It is possible that certain guarantees embedded in the Debtors’
       executory contracts, unexpired leases, secured financings, debt instruments, and other such
       agreements may have been inadvertently omitted. The Debtors reserve their rights to
       amend the Schedules to the extent that additional guarantees are identified or such
       guarantees are discovered to have expired or be unenforceable.

15.    Intercompany Claims. The Debtors’ intercompany balances are reported as of July 31,
       2020. Intercompany balances were obtained from unaudited financial statements of the
       Debtors. The intercompany balances reflect transactions arising from activity between a
       Debtor and either other Debtors or non-Debtor affiliates. As explained in the Debtors’
       Emergency Motion for Interim and Final Orders (I) Authorizing the Debtors to (A) Continue
       Operating Their Cash Management System, (B) Honor Certain Prepetition Obligations, and
       (C) Maintain Existing Bank Accounts and Business Forms, and (II) Granting Related Relief
       [Docket No. 7] (the “Cash Management Motion”), the Debtors’ cash management system
       includes eighteen bank accounts controlled by the Debtors at Wells Fargo Bank, N.A.
       (“Wells Fargo”), HSBC Bank USA, N.A. (“HSBC”), Kotak Mahindra Bank (“Kotak”),
       Texas Champions Bank (“Texas Champions”), Banco Nacional de Bolivia, Banco de
       Bogota Miami, Banco BBVA, and Credicorp Capital Colombia SA (collectively, the
       “Banks”). The Debtors reserve the right to amend the Schedules to the extent that further
       analysis would materially impact the amounts shown.

16.    Intellectual Property Rights. Exclusion of certain intellectual property shall not be
       construed to be an admission that such intellectual property rights have been abandoned,
       have been terminated or otherwise expired by their terms, or have been assigned or
       otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely,
       inclusion of certain intellectual property shall not be construed to be an admission that such
       intellectual property rights have not been abandoned, have not been terminated or otherwise
       expired by their terms, or have not been assigned or otherwise transferred pursuant to a sale,
       acquisition, or other transaction. The Debtors have made significant efforts to attribute
       intellectual property to the rightful Debtor owner, however, in some instances intellectual
       property owned by one Debtor may, in fact, be owned by another. Accordingly, the Debtors
       reserve all of their rights with respect to the legal status of any and all such intellectual
       property rights.

17.    Executory Contracts and Unexpired Leases. The Debtors have not set forth executory
       contracts or unexpired leases as assets in the Schedules and Statements. The Debtors’
       executory contracts and unexpired leases have been set forth in Schedule G. In addition,
       while the Debtors have made diligent attempts to properly identify all executory contracts
       and unexpired leases, inadvertent errors, omissions, or over-inclusion may have occurred.



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18.    Claims Description. Schedules D and E/F permit each of the Debtors to designate a Claim
       as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
       given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
       does not constitute an admission by the Debtor that such amount is not “disputed,”
       “contingent,” or “unliquidated” or that such Claim is not subject to objection. The Debtors
       reserve all rights to dispute any Claim reflected on their respective Schedules and
       Statements on any grounds, including, without limitation, liability or classification, or to
       otherwise subsequently designate such Claims as “disputed,” “contingent,” or
       “unliquidated.” In addition, the Debtors reserve their rights to object to any listed Claim on
       the grounds that, among other things, the Claim has already been satisfied.

19.    Causes of Action. Despite their reasonable efforts, the Debtors may not have listed all of
       their causes of action or potential causes of action against third parties as assets in their
       Schedules and Statements, including, without limitation, avoidance actions arising under
       chapter 5 of the Bankruptcy Code and actions under other relevant non-bankruptcy laws to
       recover assets. The Debtors reserve all of their rights for any claims, causes of action, or
       avoidance actions they may have, and neither these Global Notes nor the Schedules and
       Statements shall be deemed a waiver of any such claims, causes of actions, or avoidance
       actions or in any way prejudice or impair the assertion of such claims.

20.    Undetermined Amounts. Claim amounts that could not readily be quantified by the
       Debtors are scheduled as “unknown,” “TBD,” or “undetermined”. The description of an
       amount as “unknown,” “TBD,” or “undetermined” is not intended to reflect upon the
       materiality of such amount.

21.    Liens. Property and equipment listed in the Schedules and Statements are presented without
       consideration of any liens that may attach (or have attached) to such property or equipment.

22.    Employee Addresses. Current employee, former employee, and director addresses have
       been removed from entries listed throughout the Schedules and Statements, where
       applicable.

23.    Estimates. To prepare and file the Schedules as close to the Petition Date as possible,
       management was required to make certain estimates and assumptions that affected the
       reported amounts of these assets and liabilities. The Debtors reserve all rights to amend the
       reported amounts of assets and liability to reflect changes in those estimates or assumptions.

24.    Credits and Adjustments. The claims of individual creditors for, among other things,
       goods, products, services, or taxes are listed as the amounts entered on the Debtors’ books
       and records and may not reflect credits, allowances, or other adjustments due from such
       creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
       allowances, and other adjustments, including the right to assert claims objections and/or
       setoffs with respect to the same.

25.    Setoffs. The Debtors incur certain setoffs and other similar rights during the ordinary
       course of business. Offsets in the ordinary course can result from various items,


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       including, without limitation, intercompany transactions, pricing discrepancies, returns,
       warranties, negotiations and/or disputes between the Debtors and their vendors and
       customers. These offsets and other similar rights are consistent with the ordinary course
       of business in the Debtors’ industry and are not tracked separately. Therefore, although
       such offsets and other similar rights may have been accounted for when certain amounts
       were included in the Schedules, offsets are not independently accounted for, and as such,
       are excluded from the Schedules.

26.    Global Notes Control. In the event that the Schedules and Statements differ from these
       Global Notes, the Global Notes shall control.

27.    Confidentiality: There may be instances in the Schedules and Statements where the
       Debtors have deemed it necessary and appropriate to redact from the public record
       information such as names, addresses, or amounts. Typically, the Debtors have used this
       approach because of an agreement between the Debtors and a third party, concerns of
       confidentiality, or concerns for the privacy of, or otherwise preserving the confidentiality
       of, personally identifiable information.

                        General Disclosures Applicable to Schedules

28.    Classifications. Listing a Claim (a) on Schedule D as “secured,” (b) on Schedule E/F as
       “priority,” or (c) on Schedule E/F as “unsecured,” or a contract on Schedule G as
       “executory” or “unexpired,” does not in each case constitute an admission by the Debtors
       of the legal rights of the claimant, or a waiver of the Debtors’ right to recharacterize or
       reclassify such Claim or contract.

29.    Schedule A/B - Real and Personal Property.

       a)     Schedule A/B.3. Bank account balances are as of the end of business on Petition
              Date.

       b)     Schedule A/B.15. Equity interests in subsidiaries and affiliates arise from common
              stock ownership. For purposes of these Schedules, the value of the Debtors’
              interests is undetermined. The book values of certain assets may materially differ
              from their fair market values and/or the liquidation of the assets prepared in
              connection with the Disclosure Statement.

30.    Schedule D - Creditors Holding Secured Claims. The Claims listed on Schedule D arose
       or were incurred on various dates; a determination of the date upon which each Claim arose
       or was incurred would be unduly burdensome and cost prohibitive. Accordingly, not all
       such dates are included for each Claim. All Claims listed on Schedule D, however, appear
       to have arisen or have been incurred before July 31, 2020.

       Except as otherwise agreed pursuant to a stipulation or order entered by the Bankruptcy
       Court, the Debtors reserve their rights to dispute or challenge the validity, perfection, or
       immunity from avoidance of any lien purported to be granted or perfected in any specific
       asset of a secured creditor listed on Schedule D of any Debtor. Moreover, although the

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       Debtors have scheduled Claims of various creditors as secured Claims, the Debtors reserve
       all of their rights to dispute or challenge the secured nature of any such creditor’s Claim or
       the characterization of the structure of any such transaction or any document or instrument
       related to such creditor’s Claim. Further, while the Debtors have included the results of
       Uniform Commercial Code searches, the listing of such results is not, nor shall it be deemed,
       an admission as to the validity of any such lien. The descriptions provided in Schedule D are
       solely intended to be a summary and not an admission of liability. The Debtors made
       reasonable, good faith efforts to include all known liens on Schedule D but may have
       inadvertently omitted to include an existing lien because of, among other things, the
       possibility that a lien may have been imposed after the Uniform Commercial Code searches
       were performed or a vendor may not have filed the requisite perfection documentation.

       Except as specifically stated on Schedule D, real property lessors, utility companies, and
       other parties that may hold security deposits have not been listed on Schedule D. The
       Debtors reserve their rights to amend Schedule D to the extent that the Debtors determine
       that any Claims associated with such agreements should be reported on Schedule D.

       Moreover, the Debtors have not included on Schedule D parties that may believe their
       Claims are secured through setoff rights or inchoate statutory lien rights.

31.    Schedule E/F— Creditors Holding Unsecured Claims. The Debtors have not listed on
       Schedule E/F any tax related obligations, save for open tax audits, which the Debtors have
       been granted authority to pay pursuant to the Order Approving the Debtors’ Emergency
       Motion for an Order (I) Authorizing the Debtors to Pay Certain Prepetition Taxes and
       Related Obligations, and (II) Authorizing Financial Institutions to Receive, Process,
       Honor, and Pay All Checks Presented for Payment and to Honor All Funds Transfer
       Requests Related to Such Obligations [Docket No. 43]. The Debtors believe that all such
       Claims have been or will be satisfied in the ordinary course during these chapter 11 cases
       pursuant to the authority granted in the relevant order.

       The Debtors have used reasonable efforts to report all general unsecured Claims against
       the Debtors on Schedule E/F based upon the Debtors’ existing books and records as of the
       Petition Date; however, inadvertent errors or omissions may have occurred. The Claims
       listed on Schedule E/F arose or were incurred on various dates. In certain instances, the
       date on which a Claim arose is an open issue of fact. In addition, the Claims of individual
       creditors for, among other things, goods or services are listed as either the lower of the
       amounts invoiced by such creditor or the amounts entered on the Debtors’ books and
       records and may not reflect credits, rebates, or allowances due from such creditors to the
       applicable Debtors. The Claims and amounts listed in respect of certain trade payables
       reflect amounts owed as of the Petition Date.

       Certain Debtors may pay additional Claims listed on Schedule E/F during these chapter 11
       cases pursuant to these and other orders of the Bankruptcy Court and reserve all of their
       rights to update Schedule E/F to reflect such payments. In addition, certain Claims listed
       on Schedule E/F may be entitled to priority under section 503(b)(9) of the Bankruptcy
       Code.


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       Schedule E/F also contains information regarding pending litigation and involving the
       Debtors. The dollar amount of potential Claims associated with any such pending litigation
       is listed as “undetermined” and marked as contingent, unliquidated, and disputed in the
       Schedules and Statements. Some of the litigation Claims listed on Schedule E/F may be
       subject to subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F
       also includes potential or threatened legal disputes that are not formally recognized by an
       administrative, judicial, or other adjudicative forum due to certain procedural conditions
       that counterparties have yet to satisfy.

32.    Schedule G — Executory Contracts and Unexpired Leases. While reasonable efforts
       have been made to ensure the accuracy of Schedule G, the Debtors’ business is complex,
       and inadvertent errors, omissions, or overinclusion may have occurred. Each lease and
       contract listed in Schedule G may include one or more ancillary documents, including any
       underlying assignment and assumption agreements, amendments, supplements, full and
       partial assignments, renewals and partial releases, which may not be listed on Schedule G.
       Certain of the leases and contracts listed on Schedule G may contain certain renewal
       options, guarantees of payment, options to purchase, rights of first refusal, and other
       miscellaneous rights. Such rights, powers, duties, and obligations are not set forth on
       Schedule G. In addition, the Debtors may have entered into various other types of
       agreements in the ordinary course of business, such as financing agreements, indemnity
       agreements, subordination, non-disturbance agreements, supplemental agreements,
       amendments/letter agreements, title agreements, and confidentiality agreements. Such
       documents may not be set forth on Schedule G. Certain of the contracts, agreements, and
       leases listed on Schedule G may have been entered into by more than one of the Debtors.
       Further, the specific Debtor obligor to certain of the executory contracts could not be
       specifically ascertained in every circumstance. In some cases, the same supplier or provider
       appears multiple times in Schedule G. This multiple listing is to reflect distinct agreements
       between the applicable Debtor and such supplier or provider. In such cases, the Debtors
       made their best efforts to determine the correct Debtor’s schedule on which to list such
       executory contracts or unexpired leases. Certain of the executory contracts may not have
       been memorialized in writing and could be subject to dispute.

       The Debtors reserve all of their rights to dispute the validity, status, or enforceability of
       any contracts, agreements, or leases set forth in Schedule G and to amend or supplement
       such Schedule as necessary. Omission of a contract or agreement from Schedule G does
       not constitute an admission that such omitted contract or agreement is not an executory
       contract or unexpired lease. Likewise, inclusion of any agreement on Schedule G does not
       constitute an admission that such agreement is an executory contract or unexpired lease, or
       that such agreement was in effect on the Petition Date or is valid and enforceable, and the
       Debtors reserve all rights in that regard, including, that any agreement is not executory, has
       expired pursuant to its terms, or was terminated prepetition.

33.    Schedule H — Co-debtors. Although the Debtors have made every effort to ensure the
       accuracy of Schedule H, inadvertent errors, omissions, or inclusions may have occurred.
       The Debtors hereby reserve all rights to dispute the validity, status, and enforceability of
       any obligations set forth on Schedule H and to further amend or supplement such Schedule
       as necessary. Due to the voluminous nature of debts listed in the Schedules, and to avoid

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       unnecessary duplication, the Debtors have not listed debts that more than one Debtor may
       be liable if such debt is also listed on Schedules E/F or G for the respective co-Debtor liable
       for such debt.

       The Debtors further reserve all rights, claims, and causes of action with respect to the
       obligations listed on Schedule H, including the right to dispute or challenge the
       characterization or the structure of any transaction, document, or instrument related to a
       creditor’s claim. The listing of a contract, guarantee, or other obligation on Schedule H
       shall not be deemed an admission that such obligation is binding, valid, or enforceable.

       In the ordinary course of their business, the Debtors are involved in pending or threatened
       litigation and claims arising out of the conduct of their business. These matters may involve
       multiple plaintiffs and defendants, some or all of whom may assert cross-claims and
       counterclaims against other parties. Because such claims are listed elsewhere in the
       Statements and Schedules, they may not have been set forth individually on Schedule H.

       Schedule H also reflects guarantees by various Debtors. The Debtors may not have
       identified certain guarantees that are embedded in the Debtors’ executory contracts,
       unexpired leases, debt instruments, and other such agreements. Further, the Debtors believe
       that certain of the guarantees reflected on Schedule H may have expired or may no longer
       be enforceable. Thus, the Debtors reserve their right, but shall not be required, to amend
       the Schedules to the extent that additional guarantees are identified or such guarantees are
       discovered to have expired or are unenforceable.

                        General Disclosures Applicable to Statements

34.    Question 3. For certain creditors receiving payment, the Debtors maintain multiple
       addresses for such vendor. Efforts have been made to attribute the correct address, however,
       in certain instances, alternate addresses may be applicable for a party listed in response to
       Question 3.

35.    Question 4. For purposes of the Schedules and Statements, the Debtors define insiders as
       individuals that, based upon the totality of circumstances, have a controlling interest in, or
       exercise sufficient control over the respective Debtor so as to dictate corporate policy and
       the disposition of assets. Certain officers of the Debtors have been excluded, as the Debtors
       do not believe these individuals’ duties and responsibilities meet the criteria for inclusion.
       The Debtors do not take any position with respect to (a) such person’s influence over the
       control of the Debtors; (b) the management responsibilities or functions of such individual;
       (c) the decision-making or corporate authority of such individual; or (d) whether such
       individual could successfully argue that he or she is not an “insider” under applicable law,
       including the federal securities law, or with respect to any theories of liability or any other
       purpose. As such, the Debtors reserve all rights to dispute whether someone identified in
       response to Question 4 is in fact an “insider” as defined in section 101(31) of the
       Bankruptcy Code.

36.    Question 7. The Debtors reserve all of their rights and defenses with respect to any and all
       listed lawsuits and administrative proceedings. The listing of any such suits and

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       proceedings shall not constitute an admission by the Debtors of any liabilities or that the
       actions or proceedings were correctly filed against the Debtors or any affiliates of the
       Debtors. The Debtors also reserve their rights to assert that a Debtor is not an appropriate
       party to such actions or proceedings.

37.    Question 10. The Debtors have made best efforts to collect applicable and responsive
       information however, certain de minimis losses, which are not tracked separately, may have
       been omitted.

38.    Question 13. While the Debtors have made reasonable efforts to respond comprehensively
       to Question 13, certain de minimis asset sales and transfers may be omitted unintentionally.
       In addition, the Debtors regularly sell certain non-core assets, including certain real and
       personal property assets related to 3rd parties in the ordinary course of business.
       Accordingly, such dispositions made in the ordinary course of business have not been
       reflected in Question 13.


39.    Question 26d. The Debtors routinely provide financial information to current and potential
       banks, customers, suppliers, advisors, governmental authorities, landlords, investors, and
       other financial institutions in the ordinary course, and in association with its debt
       restructuring efforts.

40.    Question 27. No consumable inventory is recorded on the Debtors’ financial statements.

41.    Question 30. For this question, please reference Statement of Financial Affairs, Question
       4.




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                               Case 20-34306 Document 255 Filed in TXSB on 10/23/20 Page 12 of 46
  Fill in this information to identify the case:

 Debtor        SAExploration Seismic Services (US), LLC


 United States Bankruptcy Court for the:                   Southern District of Texas


 Case number             20-34309
  (if known)
                                                                                                                                                                      þ Check if this is an
                                                                                                                                                                         amended filing


 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                                                                                04/19




  Part 1:        Summary of Assets




 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)


     1a.       Real property:
                                                                                                                                                                            UNKNOWN
               Copy line 88 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
               .

     1b.       Total personal property:
                                                                                                                                                                         $8,741,212.00
               Copy line 91A from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
               .

     1c.       Total of all property:
                                                                                                                                                                         $8,741,212.00
               Copy line 92 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
               .




    Part 2:         Summary of Liabilities




   2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                       $109,500,000.00
        Copy the total dollar amount listed in Column A , Amount of claim, from line 3 of Schedule D . . . . . . . . .




   3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206EF)


        3a.      Total claim amounts of priority unsecured claims:
                                                                                                                                                                            UNKNOWN
                 Copy the total claims from Part 1 from line 6a of Schedule E/F . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 .

        3b.      Total amount of claims of nonpriority amount of unsecured claims:
                 Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F . . . . . . . . . . . . . .
                                                                                                                                                                  +      $6,344,201.00




   4. Total liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                       $115,844,201.00
        Lines 2 + 3a + 3b




Official Form 206Sum                                                                                                                                                               Page 1 of 1
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  Fill in this information to identify the case:

 Debtor        SAExploration Seismic Services (US), LLC


 United States Bankruptcy Court for the:       Southern District of Texas


 Case number          20-34309
  (if known)
                                                                                                                                                   þ Check if this is an
                                                                                                                                                      amended filing


 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                                     04/19

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
 all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which
 have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or
 unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
 the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
 additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1:        CASH AND CASH EQUIVALENTS

 1.     DOES THE DEBTOR HAVE ANY CASH OR CASH EQUIVALENTS?
        ¨      No. Go to Part 2.
        þ      Yes. Fill in the information below.



                                                                                                                                                   Current value of
           All cash or cash equivalents owned or controlled by the debtor
                                                                                                                                                   debtor’s interest

 2.     CASH ON HAND

        NONE

 3.     CHECKING, SAVINGS, MONEY MARKET, OR FINANCIAL BROKERAGE ACCOUNTS
        (IDENTIFY ALL)
        Name of institution (bank or brokerage firm)                             Type of account                 Last 4 digits of account number
        3.1.        WELLS FARGO                                                  CHECKING                        1565                                          $588,594.00

 4.     OTHER CASH EQUIVALENTS

        NONE

 5      Total of Part 1.
                                                                                                                                                               $588,594.00
        ADD LINES 2 THROUGH 4 (INCLUDING AMOUNTS ON ANY ADDITIONAL SHEETS). COPY THE
        TOTAL TO LINE 80.


 Part 2:        DEPOSITS AND PREPAYMENTS

 6.     DOES THE DEBTOR HAVE ANY DEPOSITS OR PREPAYMENTS?
        ¨      No. Go to Part 3.
        þ      Yes. Fill in the information below.



                                                                                                                                                   Current value of
                                                                                                                                                   debtor’s interest

 7.     DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS

        DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT
        7.1.        BLANKET BOND - WY OIL AND GAS CONSERVATION COMMISSION                                                                                        $50,000.00
        7.2.        DEPOSIT - TRAFFORD COMMERCE                                                                                                                   $1,000.00
        7.3.        GEOPHYSICAL EXPLORATION BOND - ND STATE, OIL AND GAS DIVISION                                                                                $50,000.00
        7.4.        GEOPHYSICAL SURETY BOND - STATE OF MT                                                                                                        $25,000.00


Official Form 206A/B                                              Schedule A/B: Assets - Real and Personal Property                                              Page 1 of 9
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                                                                Case number          Page 14 of 46                (if known)

               (Name)



                                                                                                                                              Current value of
                                                                                                                                              debtor’s interest

 7.    DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS

       DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT
       7.5.        PERFORMANCE BOND - CO OIL AND GAS CONSERVATION COMMISSION                                                                                $25,000.00
       7.6.        PERFORMANCE BOND - PA GAME COMMISSION                                                                                                    $66,000.00
       7.7.        PERFORMANCE BOND - PA GAME COMMISSION                                                                                                    $45,000.00

 8.    PREPAYMENTS, INCLUDING PREPAYMENTS ON EXECUTORY CONTRACTS, LEASES,
       INSURANCE, TAXES, AND RENT

       DESCRIPTION, INCLUDING NAME OF HOLDER OF PREPAYMENT
       8.1.        PREPAID INSURANCE - FIRST INSURANCE FUNDING OF CANADA                                                                                  $333,439.00
       8.2.        PREPAID INSURANCE - ROGERS INSURANCE                                                                                                      $2,711.00
       8.3.        PREPAID PROPERTY TAXES - NORTH SLOPE BOROUGH                                                                                             $19,115.00

 9     Total of Part 2.
                                                                                                                                                          $617,265.00
       ADD LINES 7 THROUGH 8. COPY THE TOTAL TO LINE 81.


 Part 3:       ACCOUNTS RECEIVABLE

 10.   DOES THE DEBTOR HAVE ANY ACCOUNTS RECEIVABLE?
       ¨      No. Go to Part 4.
       þ      Yes. Fill in the information below.



                                                                                                                                              Current value of
                                                                                                                                              debtor’s interest

 11.   ACCOUNTS RECEIVABLE

       MITCHAM INDUSTRIES                                   $22,863.00                                            -                                         $22,863.00
                                                                          -                                               =    è
       INC.                                                 face amount          doubtful or uncollectable accounts

       TARGA RESOURCES                                     -$35,000.00                                            -                                       ($35,000.00)
                                                                          -                                               =    è
                                                            face amount          doubtful or uncollectable accounts

       VECTOR SEISMIC DATA                                 $156,406.00                                            -                                       $156,406.00
                                                                          -                                               =    è
       PROCESSING, INC.                                     face amount          doubtful or uncollectable accounts


 12    Total of Part 3.
                                                                                                                                                          $144,269.00
       CURRENT VALUE ON LINES 11A + 11B = LINE 12. COPY THE TOTAL TO LINE 82.


 Part 4:       INVESTMENTS

 13.   DOES THE DEBTOR OWN ANY INVESTMENTS?
       ¨      No. Go to Part 5.
       þ      Yes. Fill in the information below.



                                                                                                                      Valuation method used   Current value of
                                                                                                                      for current value       debtor’s interest

 14.   MUTUAL FUNDS OR PUBLICLY TRADED STOCKS NOT INCLUDED IN PART 1

       NAME OF FUND OR STOCK:
       NONE

 15.   NON-PUBLICLY TRADED STOCK AND INTERESTS IN INCORPORATED AND
       UNINCORPORATED BUSINESSES, INCLUDING ANY INTEREST IN AN LLC, PARTNERSHIP,
       OR JOINT VENTURE

       Name of entity                                                                          % of ownership
       15.1.       INVESTMENT IN SAEXPLORATION (BRASIL) SERVICOS                             .01%                     UNKNOWN                              UNKNOWN
                   SISMICOS LTDA.

 16.   GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER NEGOTIABLE AND
       NON-NEGOTIABLE INSTRUMENTS NOT INCLUDED IN PART 1

       DESCRIBE:
       NONE


Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                               Page 2 of 9
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 17    Total of Part 4.
                                                                                                                                                              UNKNOWN
       ADD LINES 14 THROUGH 16. COPY THE TOTAL TO LINE 83.


 Part 5:      INVENTORY, EXCLUDING AGRICULTURE ASSETS

 18.   DOES THE DEBTOR OWN ANY INVENTORY (EXCLUDING AGRICULTURE ASSETS)?
       þ     No. Go to Part 6.
       ¨     Yes. Fill in the information below.



                                                              Date of the last         Net book value of         Valuation method used         Current value of
           General description
                                                              physical inventory       debtor's interest         for current value             debtor’s interest
                                                                                       (Where available)

 19.   RAW MATERIALS


 20.   WORK IN PROGRESS


 21.   FINISHED GOODS, INCLUDING GOODS HELD FOR RESALE


 22.   OTHER INVENTORY OR SUPPLIES


 23    Total of Part 5.
                                                                                                                                                         NOT APPLICABLE
       ADD LINES 19 THROUGH 22. COPY THE TOTAL TO LINE 84.

 24.   Is any of the property listed in Part 5 perishable?
       þ No
       ¨ Yes

 25.   Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       þ No
       ¨ Yes        Book value                         Valuation method                                                                  Current value

 26.   Has any of the property listed in Part 5 been appraised by a professional within the last year?
       þ No
       ¨ Yes

 Part 6:      FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND LAND)

 27.   DOES THE DEBTOR OWN OR LEASE ANY FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND
       LAND)?
       þ     No. Go to Part 7.
       ¨     Yes. Fill in the information below.


                                                                                       Net book value of         Valuation method used         Current value of
           General description
                                                                                       debtor's interest         for current value             debtor’s interest
                                                                                       (Where available)

 28.   CROPS—EITHER PLANTED OR HARVESTED


 29.   FARM ANIMALS EXAMPLES: LIVESTOCK, POULTRY, FARM-RAISED FISH


 30.   FARM MACHINERY AND EQUIPMENT (OTHER THAN TITLED MOTOR VEHICLES) (OTHER
       THAN TITLED MOTOR VEHICLES)

 31.   FARM AND FISHING SUPPLIES, CHEMICALS, AND FEED


 32.   OTHER FARMING AND FISHING-RELATED PROPERTY NOT ALREADY LISTED IN PART 6


 33    Total of Part 6.
                                                                                                                                                         NOT APPLICABLE
       ADD LINES 28 THROUGH 32. COPY THE TOTAL TO LINE 85.

 34.   Is the debtor a member of an agricultural cooperative?
       þ No
       ¨ Yes. Is any of the debtor’s property stored at the cooperative?
             ¨ No
             ¨ Yes

 35.   Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       þ No
       ¨ Yes



Official Form 206A/B                                         Schedule A/B: Assets - Real and Personal Property                                                 Page 3 of 9
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 36.   Is a depreciation schedule available for any of the property listed in Part 6?
       þ No
       ¨ Yes

 37.   Has any of the property listed in Part 6 been appraised by a professional within the last year?
       þ No
       ¨ Yes

 Part 7:       OFFICE FURNITURE, FIXTURES, AND EQUIPMENT; AND COLLECTIBLES

 38.   DOES THE DEBTOR OWN OR LEASE ANY OFFICE FURNITURE, FIXTURES, EQUIPMENT, OR COLLECTIBLES?
       ¨     No. Go to Part 8.
       þ     Yes. Fill in the information below.



                                                                                        Net book value of       Valuation method used   Current value of
           General description
                                                                                        debtor's interest       for current value       debtor’s interest
                                                                                        (Where available)

 39.   OFFICE FURNITURE

       NONE

 40.   OFFICE FIXTURES

       NONE

 41.   OFFICE EQUIPMENT, INCLUDING ALL COMPUTER EQUIPMENT AND COMMUNICATION
       SYSTEMS EQUIPMENT AND SOFTWARE

       41.1.       OFFICE EQUIPMENT INCLUDING COMPUTERS +                                           $6,265.00   NET BOOK VALUE                         $6,265.00
                   SOFTWARE

 42.   COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS, PRINTS, OR
       OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA AND CRYSTAL;
       STAMP, COIN, OR BASEBALL CARD COLLECTIONS; OTHER COLLECTIONS,
       MEMORABILIA, OR COLLECTIBLES

       NONE

 43    Total of Part 7.
                                                                                                                                                       $6,265.00
       ADD LINES 39 THROUGH 42. COPY THE TOTAL TO LINE 86.

 44.   Is a depreciation schedule available for any of the property listed in Part 7?
       ¨ No
       þ Yes

 45.   Has any of the property listed in Part 7 been appraised by a professional within the last year?
       þ No
       ¨ Yes

 Part 8:       MACHINERY, EQUIPMENT, AND VEHICLES

 46.   DOES THE DEBTOR OWN OR LEASE ANY MACHINERY, EQUIPMENT, OR VEHICLES?
       ¨     No. Go to Part 9.
       þ     Yes. Fill in the information below.



           General description                                                          Net book value of       Valuation method used   Current value of
           Include year, make, model, and identification numbers (i.e., VIN,            debtor's interest       for current value       debtor’s interest
           HIN, or N-number)                                                            (Where available)


 47.   AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
       VEHICLES

       47.1.       TRUCKS                                                                           $5,605.00   NET BOOK VALUE                         $5,605.00

 48.   WATERCRAFT, TRAILERS, MOTORS, AND RELATED ACCESSORIES EXAMPLES: BOATS,
       TRAILERS, MOTORS, FLOATING HOMES, PERSONAL WATERCRAFT, AND FISHING
       VESSELS

       48.1.       VESSELS                                                                        $627,963.00   NET BOOK VALUE                      $627,963.00

 49.   AIRCRAFT AND ACCESSORIES

       NONE




Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                         Page 4 of 9
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           General description                                                          Net book value of       Valuation method used   Current value of
           Include year, make, model, and identification numbers (i.e., VIN,            debtor's interest       for current value       debtor’s interest
           HIN, or N-number)                                                            (Where available)


 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)

       50.1.       SEISMIC EQUIPMENT                                                            $2,813,814.00   NET BOOK VALUE                     $2,813,814.00

 51    Total of Part 8.
                                                                                                                                                   $3,447,382.00
       ADD LINES 47 THROUGH 50. COPY THE TOTAL TO LINE 87.

 52.   Is a depreciation schedule available for any of the property listed in Part 8?
       ¨ No
       þ Yes

 53.   Has any of the property listed in Part 8 been appraised by a professional within the last year?
       þ No
       ¨ Yes

 Part 9:       REAL PROPERTY

 54.   DOES THE DEBTOR OWN OR LEASE ANY REAL PROPERTY?
       ¨     No. Go to Part 10.
       þ     Yes. Fill in the information below.


 55.   ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST


                                                              Nature and extent         Net book value of       Valuation method used   Current value of
           Description and location of property
           Include street address or other description        of debtor’s               debtor's interest       for current value       debtor’s interest
           such as Assessor Parcel Number (APN), and          interest in               (Where available)
           type of property (for example, acreage,            property
           factory, warehouse, apartment or office
           building), if available


       55.1.       13645 N. PROMENADE BLVD                                                              LEASE UNKNOWN                                UNKNOWN
                   STAFFORD TX 77477
       55.2.       211 RANDON FRYER RD                                                                  LEASE UNKNOWN                                UNKNOWN
                   ROSENBERG TX 77471
       55.3.       BYCO YARD ROSENBERG TX                                                               LEASE UNKNOWN                                UNKNOWN

 56    Total of Part 9.
                                                                                                                                                     UNKNOWN
       ADD THE CURRENT VALUE ON LINES 55.1 THROUGH 55.6 AND ENTRIES FROM ANY
       ADDITIONAL SHEETS. COPY THE TOTAL TO LINE 88.

 57.   Is a depreciation schedule available for any of the property listed in Part 9?
       þ No
       ¨ Yes

 58.   Has any of the property listed in Part 9 been appraised by a professional within the last year?
       þ No
       ¨ Yes

 Part 10:      INTANGIBLES AND INTELLECTUAL PROPERTY

 59.   DOES THE DEBTOR HAVE ANY INTERESTS IN INTANGIBLES OR INTELLECTUAL PROPERTY?
       ¨     No. Go to Part 11.
       þ     Yes. Fill in the information below.



                                                                                        Net book value of       Valuation method used   Current value of
           General description
                                                                                        debtor's interest       for current value       debtor’s interest
                                                                                        (Where available)

 60.   PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS

       NONE

 61.   INTERNET DOMAIN NAMES AND WEBSITES

       NONE

 62.   LICENSES, FRANCHISES, AND ROYALTIES




Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                         Page 5 of 9
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               (Name)



                                                                                      Net book value of          Valuation method used     Current value of
          General description
                                                                                      debtor's interest          for current value         debtor’s interest
                                                                                      (Where available)

 62.   LICENSES, FRANCHISES, AND ROYALTIES

       NONE

 63.   CUSTOMER LISTS, MAILING LISTS, OR OTHER COMPILATIONS

       63.1.       CUSTOMER LIST                                                                  UNKNOWN UNKNOWN                                       UNKNOWN

 64.   OTHER INTANGIBLES, OR INTELLECTUAL PROPERTY

       NONE

 65.   GOODWILL

       NONE

 66    Total of Part 10.
                                                                                                                                                        UNKNOWN
       ADD LINES 60 THROUGH 65. COPY THE TOTAL TO LINE 89.

 67.   Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107) ?
       þ No
       ¨ Yes

 68.   Is there an amortization or other similar schedule available for any of the property listed in Part 10?
       þ No
       ¨ Yes

 69.   Has any of the property listed in Part 10 been appraised by a professional within the last year?
       þ No
       ¨ Yes

 Part 11:      ALL OTHER ASSETS

 70.   DOES THE DEBTOR OWN ANY OTHER ASSETS THAT HAVE NOT YET BEEN REPORTED ON THIS FORM?
       INCLUDE ALL INTERESTS IN EXECUTORY CONTRACTS AND UNEXPIRED LEASES NOT PREVIOUSLY REPORTED ON THIS FORM.
       ¨    No. Go to Part 12.
       þ    Yes. Fill in the information below.


                                                                                                                                           Current value of
                                                                                                                                           debtor’s interest

 71.   NOTES RECEIVABLE

       DESCRIPTION (INCLUDE NAME OF OBLIGOR)
       NONE

 72.   TAX REFUNDS AND UNUSED NET OPERATING LOSSES (NOLS)

       DESCRIPTION (FOR EXAMPLE, FEDERAL, STATE, LOCAL)
       NONE

 73.   INTERESTS IN INSURANCE POLICIES OR ANNUITIES

       NONE

 74.   CAUSES OF ACTION AGAINST THIRD PARTIES (WHETHER OR NOT A LAWSUIT HAS
       BEEN FILED)

       Nature of claim                ISSUES RELATING TO PAYROLL TAX FILINGS WITH THE OKLAHOMA EMPLOYMENT SECURITY COMMISSION

       Amount requested               UNKNOWN
       ADP TAX SERVICES, INC.                                                                                                                           UNKNOWN
       Nature of claim                ISSUES RELATING TO PAYROLL TAX FILINGS WITH THE OKLAHOMA EMPLOYMENT SECURITY COMMISSION

       Amount requested               UNKNOWN
       ADP, INC.                                                                                                                                        UNKNOWN
       Nature of claim                CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT

       Amount requested               UNKNOWN
       ALAN B. MENKES                                                                                                                                   UNKNOWN




Official Form 206A/B                                      Schedule A/B: Assets - Real and Personal Property                                              Page 6 of 9
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                                                                                                                      Current value of
                                                                                                                      debtor’s interest

 74.   CAUSES OF ACTION AGAINST THIRD PARTIES (WHETHER OR NOT A LAWSUIT HAS
       BEEN FILED)

       Nature of claim              CLAIMS RELATING TO POTENTIAL MISCONDUCT WHILE EMPLOYED BY SAE; CLAW BACKS OF COMPENSATION;
                                    CLAW BACKS OF INDEMNITIES AND CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT
       Amount requested             UNKNOWN
       BRENT WHITELEY                                                                                                              UNKNOWN
       Nature of claim              CLAIMS RELATING TO POTENTIAL MISCONDUCT WHILE EMPLOYED BY SAE; CLAW BACKS OF COMPENSATION;
                                    CLAW BACKS OF INDEMNITIES AND CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT
       Amount requested             UNKNOWN
       BRIAN BEATTY                                                                                                                UNKNOWN
       Nature of claim              CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT

       Amount requested             UNKNOWN
       GARY DALTON                                                                                                                 UNKNOWN
       Nature of claim              CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT

       Amount requested             UNKNOWN
       JACOB MERCER                                                                                                                UNKNOWN
       Nature of claim              CLAIMS RELATING TO POTENTIAL MISCONDUCT WHILE EMPLOYED BY SAE; CLAW BACKS OF COMPENSATION;
                                    CLAW BACKS OF INDEMNITIES AND CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT
       Amount requested             UNKNOWN
       JEFFREY HASTINGS                                                                                                            UNKNOWN
       Nature of claim              CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT

       Amount requested             UNKNOWN
       L. MELVIN COOPER                                                                                                            UNKNOWN
       Nature of claim              CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT

       Amount requested             UNKNOWN
       MICHAEL FAUST                                                                                                               UNKNOWN
       Nature of claim              CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT

       Amount requested             UNKNOWN
       MICHAEL KASS                                                                                                                UNKNOWN
       Nature of claim              CLAIMS RELATING TO POTENTIAL MISCONDUCT WHILE EMPLOYED BY SAE; CLAW BACKS OF COMPENSATION;
                                    CLAW BACKS OF INDEMNITIES AND CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT
       Amount requested             UNKNOWN
       RYAN ABNEY                                                                                                                  UNKNOWN

 75.   OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OR CAUSES OF ACTION OF EVERY
       NATURE, INCLUDING COUNTERCLAIMS OF THE DEBTOR AND RIGHTS TO SET OFF
       CLAIMS

       Nature of claim              ISSUES RELATING TO PAYROLL TAX FILINGS WITH THE OKLAHOMA EMPLOYMENT SECURITY COMMISSION

       Amount requested             UNKNOWN
       ADP TAX SERVICES, INC.                                                                                                      UNKNOWN
       Nature of claim              ISSUES RELATING TO PAYROLL TAX FILINGS WITH THE OKLAHOMA EMPLOYMENT SECURITY COMMISSION

       Amount requested             UNKNOWN
       ADP, INC.                                                                                                                   UNKNOWN
       Nature of claim              CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT

       Amount requested             UNKNOWN
       ALAN B. MENKES                                                                                                              UNKNOWN
       Nature of claim              CLAIMS RELATING TO POTENTIAL MISCONDUCT WHILE EMPLOYED BY SAE; CLAW BACKS OF COMPENSATION;
                                    CLAW BACKS OF INDEMNITIES AND CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT
       Amount requested             UNKNOWN
       BRENT WHITELEY                                                                                                              UNKNOWN
       Nature of claim              CLAIMS RELATING TO POTENTIAL MISCONDUCT WHILE EMPLOYED BY SAE; CLAW BACKS OF COMPENSATION;
                                    CLAW BACKS OF INDEMNITIES AND CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT
       Amount requested             UNKNOWN
       BRIAN BEATTY                                                                                                                UNKNOWN
       Nature of claim              CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT

       Amount requested             UNKNOWN
       GARY DALTON                                                                                                                 UNKNOWN


Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                           Page 7 of 9
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             (Name)



                                                                                                                                          Current value of
                                                                                                                                          debtor’s interest

 75.   OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OR CAUSES OF ACTION OF EVERY
       NATURE, INCLUDING COUNTERCLAIMS OF THE DEBTOR AND RIGHTS TO SET OFF
       CLAIMS

       Nature of claim               CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT

       Amount requested              UNKNOWN
       JACOB MERCER                                                                                                                                    UNKNOWN
       Nature of claim               CLAIMS RELATING TO POTENTIAL MISCONDUCT WHILE EMPLOYED BY SAE; CLAW BACKS OF COMPENSATION;
                                     CLAW BACKS OF INDEMNITIES AND CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT
       Amount requested              UNKNOWN
       JEFFREY HASTINGS                                                                                                                                UNKNOWN
       Nature of claim               CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT

       Amount requested              UNKNOWN
       L. MELVIN COOPER                                                                                                                                UNKNOWN
       Nature of claim               CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT

       Amount requested              UNKNOWN
       MICHAEL FAUST                                                                                                                                   UNKNOWN
       Nature of claim               CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT

       Amount requested              UNKNOWN
       MICHAEL KASS                                                                                                                                    UNKNOWN
       Nature of claim               CLAIMS RELATING TO POTENTIAL MISCONDUCT WHILE EMPLOYED BY SAE; CLAW BACKS OF COMPENSATION;
                                     CLAW BACKS OF INDEMNITIES AND CLAIMS AND CAUSES OF ACTION RELATED TO THE DERIVATIVE LAWSUIT
       Amount requested              UNKNOWN
       RYAN ABNEY                                                                                                                                      UNKNOWN

 76.   TRUSTS, EQUITABLE OR FUTURE INTERESTS IN PROPERTY

       NONE

 77.   OTHER PROPERTY OF ANY KIND NOT ALREADY LISTED EXAMPLES: SEASON TICKETS,
       COUNTRY CLUB MEMBERSHIP

       CROSS BORDER TAX ADJUSTMENTS                                                                                                                     $33,500.00
       EMPLOYEE ADVANCES                                                                                                                                $30,400.00
       INTERCOMPANY RECEIVABLE - SAE (AUSTRALIA) PTY. LTD.                                                                                            $146,571.00
       INTERCOMPANY RECEIVABLE - SAEXPLORATION (AUSTRALIA) PTY. LTD.                                                                                    $65,125.00
       INTERCOMPANY RECEIVABLE - SAEXPLORATION (CANADA) LTD.                                                                                            $91,645.00
       INTERCOMPANY RECEIVABLE - SAEXPLORATION (COLOMBIA) S.A.S.                                                                                        $12,150.00
       INTERCOMPANY RECEIVABLE - SAEXPLORATION (CYPRUS) LIMITED                                                                                       $212,944.00
       INTERCOMPANY RECEIVABLE - SAEXPLORATION (MALAYSIA) SDN. BHD.                                                                                   $230,344.00
       INTERCOMPANY RECEIVABLE - SAEXPLORATION MEXICO S. DE R.L. DE C.V.                                                                                 $6,996.00
       OPERATING LEASE RIGHT OF USE ASSET                                                                                                            $3,106,716.00
       PAYROLL ADVANCES                                                                                                                                  $1,046.00

 78    Total of Part 11.
                                                                                                                                                     $3,937,437.00
       ADD LINES 71 THROUGH 77. COPY THE TOTAL TO LINE 90.

 79.   Has any of the property listed in Part 11 been appraised by a professional within the last year?
       þ No
       ¨ Yes

 Part 12:    Summary


 In Part 12 copy all of the totals from the earlier parts of the form.



          Type of property                                                         Current value of               Current value of real
                                                                                   personal property              property

 80.   Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                  $588,594.00


 81.   Deposits and prepayments. Copy line 9, Part 2.                                      $617,265.00




Official Form 206A/B                                       Schedule A/B: Assets - Real and Personal Property                                            Page 8 of 9
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 82.   Accounts receivable. Copy line 12, Part 3.                                                                       $144,269.00


 83.   Investments. Copy line 17, Part 4.                                                                                UNKNOWN


 84.   Inventory. Copy line 23, Part 5.


 85.   Farming and fishing-related assets. Copy line 33, Part 6.


 86.   Office furniture, fixtures, and equipment; and collectibles.                                                        $6,265.00
       Copy line 43, Part 7.

 87.   Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                     $3,447,382.00


 88.   Real property. Copy line 56, Part 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .è                             UNKNOWN


 89.   Intangibles and intellectual property. Copy line 66, Part 10.                                                     UNKNOWN


 90.   All other assets. Copy line 78, Part 11.
                                                                                                     +               $3,937,437.00



 91.   Total. Add lines 80 through 90 for each column . . . . . . . . . 91a.                                         $8,741,212.00     + 91b.                  UNKNOWN




 92.   Total of all property on Schedule A/B. Lines 91a + 91b = 92 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             $8,741,212.00
       .




Official Form 206A/B                                                      Schedule A/B: Assets - Real and Personal Property                                                 Page 9 of 9
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  Fill in this information to identify the case:

 Debtor        SAExploration Seismic Services (US), LLC


 United States Bankruptcy Court for the:        Southern District of Texas


 Case number           20-34309
  (if known)
                                                                                                                                                       þ Check if this is an
                                                                                                                                                           amended filing


 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                04/19

 Be as complete and accurate as possible.

 1.     1.     Do any creditors have claims secured by debtor’s property?
        ¨      No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        þ      Yes. Fill in all of the information below.


  Part 1:        List All Creditors with Secured Claims

                                                                                                                          Column A                     Column B
 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than
        one secured claim, list the creditor separately for each claim.                                                   Amount of claim              Value of collateral that
                                                                                                                          Do not deduct the value of   supports this claim
                                                                                                                          collateral.

 2.1             Creditor’s name                                             Describe debtor’s property that is                      $20,500,000.00        UNDETERMINED
                 CANTOR FITZGERALD SECURITIES                                subject to a lien
                                                                             CERTAIN ASSETS OF THE DEBTOR
                 Creditor's mailing address
                 110 EAST 59TH STREET                                        Describe the lien
                 NEW YORK, NY 10022                                          THIRD AMENDED AND RESTATED
                                                                             CREDIT AND SECURITY AGREEMENT
                 Creditor's email address
                 BYOUNG@CANTOR.COM                                           Is the creditor an insider or related
                                                                             party?
                 Date or dates debt was incurred
                                                                             þ No
                 9/26/2018                                                   ¨ Yes
                 Last 4 digits of account number:                            Is anyone else liable on this claim?
                                                                             ¨ No
                 Do multiple creditors have an interest in the
                                                                             þ Yes
                 same property?
                 ¨ No                                                        As of the petition filing date, the claim
                 þ Yes                                                       is:
                                                                             Check all that apply.
                                                                             þ Contingent
                                                                             þ Unliquidated
                                                                             ¨ Disputed

 2.2             Creditor’s name                                             Describe debtor’s property that is                      $29,000,000.00        UNDETERMINED
                 DELAWARE TRUST COMPANY                                      subject to a lien
                                                                             CERTAIN ASSETS OF THE DEBTOR
                 Creditor's mailing address
                 2711 CENTERVILLE RD                                         Describe the lien
                 WILMINGTON, DE 19808                                        TERM LOAN AND SECURITY
                                                                             AGREEMENT
                 Creditor's email address
                 DDUGAN@DELAWARETRUST.COM                                    Is the creditor an insider or related
                                                                             party?
                 Date or dates debt was incurred
                                                                             þ No
                 6/29/2016                                                   ¨ Yes
                 Last 4 digits of account number:                            Is anyone else liable on this claim?
                                                                             ¨ No
                 Do multiple creditors have an interest in the
                                                                             þ Yes
                 same property?
                 ¨ No                                                        As of the petition filing date, the claim
                 þ Yes                                                       is:
                                                                             Check all that apply.
                                                                             þ Contingent
                                                                             þ Unliquidated
                                                                             ¨ Disputed




Official Form 206D                                           Schedule D: Creditors Who Have Claims Secured by Property                                                Page 1 of 2
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  Part 1:     Additional Page

                                                                                                                               Column A                     Column B
                                                                                                                               Amount of claim              Value of collateral that
                                                                                                                               Do not deduct the value of   supports this claim
                                                                                                                               collateral.

 2.3          Creditor’s name                                         Describe debtor’s property that is                                  $60,000,000.00        UNDETERMINED
              WILMINGTON SAVINGS FUND SOCIETY, FSB                    subject to a lien
                                                                      CERTAIN ASSETS OF THE DEBTOR
              Creditor's mailing address
              500 DELAWARE AVE.                                       Describe the lien
              11 FLOOR                                                6.0% SENIOR SECURED CONVERTIBLE
              WILMINGTON, DE 19899                                    NOTES DUE 2023
              Creditor's email address                                Is the creditor an insider or related
              PHEALY@WSFSBANK.COM                                     party?
                                                                      þ No
              Date or dates debt was incurred
                                                                      ¨ Yes
              9/26/2018
                                                                      Is anyone else liable on this claim?
              Last 4 digits of account number:
                                                                      ¨ No
                                                                      þ Yes
              Do multiple creditors have an interest in the
              same property?                                          As of the petition filing date, the claim
              ¨ No                                                    is:
                                                                      Check all that apply.
              þ Yes
                                                                      þ Contingent
                                                                      þ Unliquidated
                                                                      ¨ Disputed

  3.      Total of the dollar amounts from Part 1, Column A, including the amounts from the                                             $109,500,000.00
          Additional Page, if any.




Official Form 206D                                       Schedule D: Creditors Who Have Claims Secured by Property                                                         Page 2 of 2
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  Fill in this information to identify the case:

 Debtor        SAExploration Seismic Services (US), LLC


 United States Bankruptcy Court for the:      Southern District of Texas


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  (if known)
                                                                                                                                                  þ Check if this is an
                                                                                                                                                      amended filing


 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   04/19

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


  Part 1:       List All Creditors with PRIORITY Unsecured Claims


 1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        ¨      No. Go to Part 2.
        þ      Yes. Go to line 2.

 2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
        3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                               Total claim               Priority amount

 2.1            Priority creditor’s name and mailing address               As of the petition filing date, the claim                UNKNOWN                     UNKNOWN
                                                                           is:
                AGUILAR,JOSE
                                                                           Check all that apply.
                ADDRESSES REDACTED
                                                                           ¨ Contingent
                Date or dates debt was incurred                            ¨ Unliquidated
                                                                           ¨ Disputed
                Last 4 digits of account number:
                                                                           Basis for the claim:
                Specify Code subsection of PRIORITY                        EMPLOYEE WAGES
                unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                           Is the claim subject to offset?
                                                                           þ No
                                                                           ¨ Yes

 2.2            Priority creditor’s name and mailing address               As of the petition filing date, the claim                UNKNOWN                     UNKNOWN
                                                                           is:
                BACHLEDA,PARTRYCJUSZ
                                                                           Check all that apply.
                ADDRESSES REDACTED
                                                                           ¨ Contingent
                Date or dates debt was incurred                            ¨ Unliquidated
                                                                           ¨ Disputed
                Last 4 digits of account number:
                                                                           Basis for the claim:
                Specify Code subsection of PRIORITY                        EMPLOYEE WAGES
                unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                           Is the claim subject to offset?
                                                                           þ No
                                                                           ¨ Yes

 2.3            Priority creditor’s name and mailing address               As of the petition filing date, the claim                UNKNOWN                     UNKNOWN
                                                                           is:
                CAMARILLO,JAVIER
                                                                           Check all that apply.
                ADDRESSES REDACTED
                                                                           ¨ Contingent
                Date or dates debt was incurred                            ¨ Unliquidated
                                                                           ¨ Disputed
                Last 4 digits of account number:
                                                                           Basis for the claim:
                Specify Code subsection of PRIORITY                        EMPLOYEE WAGES
                unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                           Is the claim subject to offset?
                                                                           þ No
                                                                           ¨ Yes




Official Form 206E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 1 of 6
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  Part 1:   Additional Page

                                                                                                                          Total claim    Priority amount

 2.4        Priority creditor’s name and mailing address         As of the petition filing date, the claim                     UNKNOWN          UNKNOWN
                                                                 is:
            CARDOZA,ROLANDO
                                                                 Check all that apply.
            ADDRESSES REDACTED
                                                                 ¨ Contingent
            Date or dates debt was incurred                      ¨ Unliquidated
                                                                 ¨ Disputed
            Last 4 digits of account number:
                                                                 Basis for the claim:
            Specify Code subsection of PRIORITY                  EMPLOYEE WAGES
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Is the claim subject to offset?
                                                                 þ No
                                                                 ¨ Yes

 2.5        Priority creditor’s name and mailing address         As of the petition filing date, the claim                     UNKNOWN          UNKNOWN
                                                                 is:
            ESPRIELLA,PAULINO
                                                                 Check all that apply.
            ADDRESSES REDACTED
                                                                 ¨ Contingent
            Date or dates debt was incurred                      ¨ Unliquidated
                                                                 ¨ Disputed
            Last 4 digits of account number:
                                                                 Basis for the claim:
            Specify Code subsection of PRIORITY                  EMPLOYEE WAGES
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Is the claim subject to offset?
                                                                 þ No
                                                                 ¨ Yes

 2.6        Priority creditor’s name and mailing address         As of the petition filing date, the claim                     UNKNOWN          UNKNOWN
                                                                 is:
            FYFE ,JEFFREY
                                                                 Check all that apply.
            ADDRESSES REDACTED
                                                                 ¨ Contingent
            Date or dates debt was incurred                      ¨ Unliquidated
                                                                 ¨ Disputed
            Last 4 digits of account number:
                                                                 Basis for the claim:
            Specify Code subsection of PRIORITY                  EMPLOYEE WAGES
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Is the claim subject to offset?
                                                                 þ No
                                                                 ¨ Yes

 2.7        Priority creditor’s name and mailing address         As of the petition filing date, the claim                     UNKNOWN          UNKNOWN
                                                                 is:
            GALLANT ,DAVID
                                                                 Check all that apply.
            ADDRESSES REDACTED
                                                                 ¨ Contingent
            Date or dates debt was incurred                      ¨ Unliquidated
                                                                 ¨ Disputed
            Last 4 digits of account number:
                                                                 Basis for the claim:
            Specify Code subsection of PRIORITY                  EMPLOYEE WAGES
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Is the claim subject to offset?
                                                                 þ No
                                                                 ¨ Yes

 2.8        Priority creditor’s name and mailing address         As of the petition filing date, the claim                     UNKNOWN          UNKNOWN
                                                                 is:
            HART,RAY
                                                                 Check all that apply.
            ADDRESSES REDACTED
                                                                 ¨ Contingent
            Date or dates debt was incurred                      ¨ Unliquidated
                                                                 ¨ Disputed
            Last 4 digits of account number:
                                                                 Basis for the claim:
            Specify Code subsection of PRIORITY                  EMPLOYEE WAGES
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Is the claim subject to offset?
                                                                 þ No
                                                                 ¨ Yes




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 6
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  Part 1:   Additional Page

                                                                                                                          Total claim    Priority amount

 2.9        Priority creditor’s name and mailing address         As of the petition filing date, the claim                     UNKNOWN          UNKNOWN
                                                                 is:
            MORALES,GIBRAN
                                                                 Check all that apply.
            ADDRESSES REDACTED
                                                                 ¨ Contingent
            Date or dates debt was incurred                      ¨ Unliquidated
                                                                 ¨ Disputed
            Last 4 digits of account number:
                                                                 Basis for the claim:
            Specify Code subsection of PRIORITY                  EMPLOYEE WAGES
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Is the claim subject to offset?
                                                                 þ No
                                                                 ¨ Yes

 2.10       Priority creditor’s name and mailing address         As of the petition filing date, the claim                     UNKNOWN          UNKNOWN
                                                                 is:
            MUNOZ-RAMIREZ,ALFONSO
                                                                 Check all that apply.
            ADDRESSES REDACTED
                                                                 ¨ Contingent
            Date or dates debt was incurred                      ¨ Unliquidated
                                                                 ¨ Disputed
            Last 4 digits of account number:
                                                                 Basis for the claim:
            Specify Code subsection of PRIORITY                  EMPLOYEE WAGES
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Is the claim subject to offset?
                                                                 þ No
                                                                 ¨ Yes

 2.11       Priority creditor’s name and mailing address         As of the petition filing date, the claim                     UNKNOWN          UNKNOWN
                                                                 is:
            MURILLO,WILLIAMS
                                                                 Check all that apply.
            ADDRESSES REDACTED
                                                                 ¨ Contingent
            Date or dates debt was incurred                      ¨ Unliquidated
                                                                 ¨ Disputed
            Last 4 digits of account number:
                                                                 Basis for the claim:
            Specify Code subsection of PRIORITY                  EMPLOYEE WAGES
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Is the claim subject to offset?
                                                                 þ No
                                                                 ¨ Yes

 2.12       Priority creditor’s name and mailing address         As of the petition filing date, the claim                     UNKNOWN          UNKNOWN
                                                                 is:
            NAVARRO,HECTOR
                                                                 Check all that apply.
            ADDRESSES REDACTED
                                                                 ¨ Contingent
            Date or dates debt was incurred                      ¨ Unliquidated
                                                                 ¨ Disputed
            Last 4 digits of account number:
                                                                 Basis for the claim:
            Specify Code subsection of PRIORITY                  EMPLOYEE WAGES
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Is the claim subject to offset?
                                                                 þ No
                                                                 ¨ Yes

 2.13       Priority creditor’s name and mailing address         As of the petition filing date, the claim                     UNKNOWN          UNKNOWN
                                                                 is:
            NIEHAUS,BRIAN
                                                                 Check all that apply.
            ADDRESSES REDACTED
                                                                 ¨ Contingent
            Date or dates debt was incurred                      ¨ Unliquidated
                                                                 ¨ Disputed
            Last 4 digits of account number:
                                                                 Basis for the claim:
            Specify Code subsection of PRIORITY                  EMPLOYEE WAGES
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Is the claim subject to offset?
                                                                 þ No
                                                                 ¨ Yes




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 6
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  Part 1:   Additional Page

                                                                                                                          Total claim    Priority amount

 2.14       Priority creditor’s name and mailing address         As of the petition filing date, the claim                     UNKNOWN          UNKNOWN
                                                                 is:
            OVIEDO,ABEL
                                                                 Check all that apply.
            ADDRESSES REDACTED
                                                                 ¨ Contingent
            Date or dates debt was incurred                      ¨ Unliquidated
                                                                 ¨ Disputed
            Last 4 digits of account number:
                                                                 Basis for the claim:
            Specify Code subsection of PRIORITY                  EMPLOYEE WAGES
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Is the claim subject to offset?
                                                                 þ No
                                                                 ¨ Yes

 2.15       Priority creditor’s name and mailing address         As of the petition filing date, the claim                     UNKNOWN          UNKNOWN
                                                                 is:
            SALAZAR,SANTIAGO
                                                                 Check all that apply.
            ADDRESSES REDACTED
                                                                 ¨ Contingent
            Date or dates debt was incurred                      ¨ Unliquidated
                                                                 ¨ Disputed
            Last 4 digits of account number:
                                                                 Basis for the claim:
            Specify Code subsection of PRIORITY                  EMPLOYEE WAGES
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Is the claim subject to offset?
                                                                 þ No
                                                                 ¨ Yes

 2.16       Priority creditor’s name and mailing address         As of the petition filing date, the claim                     UNKNOWN          UNKNOWN
                                                                 is:
            SCHARDER,DAYLE
                                                                 Check all that apply.
            ADDRESSES REDACTED
                                                                 ¨ Contingent
            Date or dates debt was incurred                      ¨ Unliquidated
                                                                 ¨ Disputed
            Last 4 digits of account number:
                                                                 Basis for the claim:
            Specify Code subsection of PRIORITY                  EMPLOYEE WAGES
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Is the claim subject to offset?
                                                                 þ No
                                                                 ¨ Yes

 2.17       Priority creditor’s name and mailing address         As of the petition filing date, the claim                     UNKNOWN          UNKNOWN
                                                                 is:
            SMITH,JAMES D
                                                                 Check all that apply.
            ADDRESSES REDACTED
                                                                 ¨ Contingent
            Date or dates debt was incurred                      ¨ Unliquidated
                                                                 ¨ Disputed
            Last 4 digits of account number:
                                                                 Basis for the claim:
            Specify Code subsection of PRIORITY                  EMPLOYEE WAGES
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Is the claim subject to offset?
                                                                 þ No
                                                                 ¨ Yes

 2.18       Priority creditor’s name and mailing address         As of the petition filing date, the claim                     UNKNOWN          UNKNOWN
                                                                 is:
            SORIANO,JOSE ANTONIO
                                                                 Check all that apply.
            ADDRESSES REDACTED
                                                                 ¨ Contingent
            Date or dates debt was incurred                      ¨ Unliquidated
                                                                 ¨ Disputed
            Last 4 digits of account number:
                                                                 Basis for the claim:
            Specify Code subsection of PRIORITY                  EMPLOYEE WAGES
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Is the claim subject to offset?
                                                                 þ No
                                                                 ¨ Yes




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 6
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  Part 1:    Additional Page

                                                                                                                                   Total claim           Priority amount

 2.19        Priority creditor’s name and mailing address            As of the petition filing date, the claim                          UNKNOWN                 UNKNOWN
                                                                     is:
             TREVINO,HUGO
                                                                     Check all that apply.
             ADDRESSES REDACTED
                                                                     ¨ Contingent
             Date or dates debt was incurred                         ¨ Unliquidated
                                                                     ¨ Disputed
             Last 4 digits of account number:
                                                                     Basis for the claim:
             Specify Code subsection of PRIORITY                     EMPLOYEE WAGES
             unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                     Is the claim subject to offset?
                                                                     þ No
                                                                     ¨ Yes

 2.20        Priority creditor’s name and mailing address            As of the petition filing date, the claim                          UNKNOWN                 UNKNOWN
                                                                     is:
             WARREN,RICHARD
                                                                     Check all that apply.
             ADDRESSES REDACTED
                                                                     ¨ Contingent
             Date or dates debt was incurred                         ¨ Unliquidated
                                                                     ¨ Disputed
             Last 4 digits of account number:
                                                                     Basis for the claim:
             Specify Code subsection of PRIORITY                     EMPLOYEE WAGES
             unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                     Is the claim subject to offset?
                                                                     þ No
                                                                     ¨ Yes

  Part 2:    List All Creditors with NONPRIORITY Unsecured Claims


 3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
        unsecured claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                                      Amount of claim

 3.1         Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                            $759,735.00
                                                                                        Check all that apply.
             SAEXPLORATION HOLDINGS, INC.
             1160 DAIRY ASHFORD                                                         ¨ Contingent
             SUITE 160                                                                  ¨ Unliquidated
             HOUSTON, TX 77079                                                          ¨ Disputed

             Date or dates debt was incurred                                            Basis for the claim:
                                                                                        INTERCOMPANY CLAIM
             VARIOUS
                                                                                        Is the claim subject to offset?
             Last 4 digits of account number: N/A                                       þ No
                                                                                        ¨ Yes

 3.2         Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                            $718,034.00
                                                                                        Check all that apply.
             SAEXPLORATION UK LTD.
             1160 DAIRY ASHFORD                                                         ¨ Contingent
             SUITE 160                                                                  ¨ Unliquidated
             HOUSTON, TX 77079                                                          ¨ Disputed

             Date or dates debt was incurred                                            Basis for the claim:
                                                                                        INTERCOMPANY CLAIM
             VARIOUS
                                                                                        Is the claim subject to offset?
             Last 4 digits of account number: N/A                                       þ No
                                                                                        ¨ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 5 of 6
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  Part 2:      Additional Page

                                                                                                                                                      Amount of claim

 3.3           Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:                                $4,866,432.00
                                                                                    Check all that apply.
               SAEXPLORATION, INC.
               1160 DAIRY ASHFORD                                                   ¨ Contingent
               SUITE 160                                                            ¨ Unliquidated
               HOUSTON, TX 77079                                                    ¨ Disputed

               Date or dates debt was incurred                                      Basis for the claim:
                                                                                    INTERCOMPANY CLAIM
               VARIOUS
                                                                                    Is the claim subject to offset?
               Last 4 digits of account number: N/A                                 þ No
                                                                                    ¨ Yes

 3.4           Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:                                  UNKNOWN
                                                                                    Check all that apply.
               WILMINGTON SAVINGS FUND SOCIETY, FSB
               500 DELAWARE AVE                                                     ¨ Contingent
               WILMINGTON, DE 19801                                                 ¨ Unliquidated
                                                                                    ¨ Disputed
               Date or dates debt was incurred
                                                                                    Basis for the claim:
               VARIOUS                                                              CONVERTIBLE NOTES
               Last 4 digits of account number:                                     Is the claim subject to offset?
                                                                                    þ No
                                                                                    ¨ Yes

    Part 4:        Total Amounts of the Priority and Nonpriority Unsecured Claims




   5.       Add the amounts of priority and nonpriority unsecured claims.



                                                                                                                                        Total of claim amounts



   5a.      Total claims from Part 1                                                                                        5a.                      UNDETERMINED




   5b.      Total claims from Part 2                                                                                        5b.     +                   $6,344,201.00




   5c.      Total of Parts 1 and 2                                                                                          5c.                         $6,344,201.00
            Lines 5a + 5b = 5c.




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 6 of 6
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  Fill in this information to identify the case:

 Debtor        SAExploration Seismic Services (US), LLC


 United States Bankruptcy Court for the:      Southern District of Texas


 Case number          20-34309
  (if known)
                                                                                                                                                         þ Check if this is an
                                                                                                                                                             amended filing


 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                                    04/19

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1.     Does the debtor have any executory contracts or unexpired leases?
        ¨      No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        þ      Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
               Form 206A/B).

 2.     List all contracts and unexpired leases                                                      State the name and mailing address for all other parties with
                                                                                                     whom the debtor has an executory contract or unexpired lease


 2.1            State what the contract           SERVICE CONTRACT                                     AGAPE CLEANING ENTERPRISES, INCORPORATED
                or lease is for and the                                                                6340 N.ELDRIDGE PKWY, SUITE N #434
                nature of the debtor’s                                                                 HOUSTON, TX 77041
                interest                                                                               USA

                State the term remaining          UPON NOTICE

                List the contract number
                of any government
                contract

 2.2            State what the contract           GSA                                                  ALLEN LIVESTOCK LLP
                or lease is for and the                                                                PO BOX 25
                nature of the debtor’s                                                                 HOTCHKISS, CO 81419
                interest                                                                               USA

                State the term remaining          UPON NOTICE

                List the contract number
                of any government
                contract

 2.3            State what the contract           PROJECT AGREEMENT                                    ALTA VISTA OIL CORPORATION
                or lease is for and the                                                                2611 E. HIGHWAY 4
                nature of the debtor’s                                                                 CLEARMONT, WY 82835
                interest                                                                               USA

                State the term remaining          UNTIL COMPLETE

                List the contract number
                of any government
                contract

 2.4            State what the contract           TEMPORARY OCCUPANCY                                  ANDREW WINFREY (CO)
                or lease is for and the           AGREEMENT                                            1313 WILLIAMS ST #1100
                nature of the debtor’s                                                                 DENVER, CO 80218
                interest                                                                               USA

                State the term remaining          MONTH-TO-MONTH

                List the contract number
                of any government
                contract




Official Form 206G                                            Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 14
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        List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                             whom the debtor has an executory contract or unexpired lease


 2.5         State what the contract           SEISMIC DATA LICENSE                            APACHE CORP.
             or lease is for and the                                                           303 VETRANS AIRPARK LANE
             nature of the debtor’s                                                            MIDLAND, TX 79705
             interest                                                                          USA

             State the term remaining          9/25/2048

             List the contract number
             of any government
             contract

 2.6         State what the contract           CLIENT: MASTER SERVICES                         APACHE CORPORATION
             or lease is for and the           CONTRACT                                        2000 POST OAK BLVD, SUITE 100
             nature of the debtor’s                                                            HOUSTON, TX 77056-4400
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.7         State what the contract           NDA MULTI-CLIENT SEISMIC                        ASPIRE GEOPHYSICAL CORPORATION
             or lease is for and the           PROGRAMS                                        1773 WESTBOROUGH DRIVE
             nature of the debtor’s                                                            KATY, TX 77449
             interest                                                                          USA

             State the term remaining          6/18/2024

             List the contract number
             of any government
             contract

 2.8         State what the contract           ORDER FORM                                      AZUGA
             or lease is for and the                                                           2570 N. FIRST ST., #200
             nature of the debtor’s                                                            SAN JOSE, CA 95131
             interest                                                                          USA

             State the term remaining          12/31/2022

             List the contract number
             of any government
             contract

 2.9         State what the contract           SERVICE CONTRACT                                AZUGA
             or lease is for and the                                                           41131, VINCENTI COURT
             nature of the debtor’s                                                            NOVI, MI 48375
             interest                                                                          USA

             State the term remaining          12/31/2022

             List the contract number
             of any government
             contract

 2.10        State what the contract           GSA                                             BEAR CREEK OUTFITTERS
             or lease is for and the                                                           3481 SOUTH ELM STREET
             nature of the debtor’s                                                            DENVER, CO 80222
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract




Official Form 206G                                         Schedule G: Executory Contracts and Unexpired Leases                                          Page 2 of 14
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        List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.11        State what the contract           GSA                                           BYCO
             or lease is for and the                                                         504 AVENUE H
             nature of the debtor’s                                                          ROSENBURG, TX 77471
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

                                                                              ADDITION
 2.12        State what the contract           CONTRACT                                      BYCO
             or lease is for and the                                                         9TH,10TH FLOOR, THE HARBOUR FRONT
             nature of the debtor’s                                                          DOLMEN CITY
             interest                                                                        HC-3, BLOCK-4, MARINE DRIVE
                                                                                             CLIFTON, KARACHI-75600
             State the term remaining          OPEN                                          PAKISTAN

             List the contract number
             of any government
             contract

 2.13        State what the contract           ASSIGNMENT OF CONTRACT AND MSA                CABOT OIL & GAS CORPORATION
             or lease is for and the                                                         2000 PARK LANE DRIVE, SUITE 300
             nature of the debtor’s                                                          PITTSBURGH, PA 15275
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.14        State what the contract           GSA WITH ADDENDUM                             CARL TRIGG TRUCKING
             or lease is for and the                                                         P.O. BOX 445
             nature of the debtor’s                                                          RICHMOND, OH 43944
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

                                                                              ADDITION
 2.15        State what the contract           CONTRACT                                      CGG LAND (U.S.) INC.
             or lease is for and the                                                         10300 TOWN PARK DRIVE
             nature of the debtor’s                                                          HOUSTON, TX 77072
             interest

             State the term remaining          UNKNOWN

             List the contract number
             of any government
             contract

                                                                              ADDITION
 2.16        State what the contract           SUPPLEMENT - PROJECT AGREEMENT                CGG LAND (U.S.) INC.
             or lease is for and the                                                         10300 TOWN PARK DRIVE
             nature of the debtor’s                                                          HOUSTON, TX 77072
             interest

             State the term remaining          UNTIL COMPLETE

             List the contract number
             of any government
             contract




Official Form 206G                                       Schedule G: Executory Contracts and Unexpired Leases                                          Page 3 of 14
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        List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                             whom the debtor has an executory contract or unexpired lease


 2.17        State what the contract           MSA                                             CGG
             or lease is for and the                                                           10300 TOWN PARK DRIVE
             nature of the debtor’s                                                            HOUSTON, TX 77072
             interest                                                                          USA

             State the term remaining          8/1/2021

             List the contract number
             of any government
             contract

 2.18        State what the contract           AGREEMENT                                       CH ROBINSON TRANSPORATION
             or lease is for and the                                                           14701 CHARLSON ROAD
             nature of the debtor’s                                                            EDEN PRAIRIE, MN 55347
             interest                                                                          USA

             State the term remaining          9/18/2020

             List the contract number
             of any government
             contract

 2.19        State what the contract           STORAGE                                         CITY OF BIG SPRING
             or lease is for and the                                                           RICKABAUGH DR W MCMAHON-WRINKLE AIRPARK
             nature of the debtor’s                                                            BIG SPRING, TX 79720
             interest                                                                          USA

             State the term remaining          MONTH-TO-MONTH

             List the contract number
             of any government
             contract

 2.20        State what the contract           SECOND AMENDMENT TO LEASE                       CLAY#6-13645 N. PROMENADE, LLC
             or lease is for and the           AGREEMENT                                       PO BOX 37109
             nature of the debtor’s                                                            HOUSTON, TX 77237-7109
             interest                                                                          USA

             State the term remaining          9/30/2025

             List the contract number
             of any government
             contract

 2.21        State what the contract           GSA                                             CLEAN HARBORS
             or lease is for and the                                                           PO BOX 3442
             nature of the debtor’s                                                            BOSTON, MA 02241-3442
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.22        State what the contract           MASTER AGREEMENT                                CONOCOPHILLIPS COMPANY
             or lease is for and the                                                           660 NORTH DAIRY ASHFORD
             nature of the debtor’s                                                            HOUSTON, TX 77079
             interest                                                                          USA

             State the term remaining          10/15/2022

             List the contract number
             of any government
             contract




Official Form 206G                                         Schedule G: Executory Contracts and Unexpired Leases                                          Page 4 of 14
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        List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.23        State what the contract           GSA                                           COUGAR LAND SERVICES
             or lease is for and the                                                         PO BOX 17147
             nature of the debtor’s                                                          SUGAR LAND, TX 77496-7147
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.24        State what the contract           GSA                                           DAUTERIVE CONTRACTORS
             or lease is for and the                                                         4700 E OLD JEANERETTE RD
             nature of the debtor’s                                                          NEW IBERIA, LA 70563
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.25        State what the contract           GSA                                           DESCO
             or lease is for and the                                                         P.O. BOX 1490
             nature of the debtor’s                                                          MAGNOLIA, TX 77353
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.26        State what the contract           GSA                                           DISCOVERY ACQUSITION (DAS)
             or lease is for and the                                                         4141 KATY HOCKLEY ROAD
             nature of the debtor’s                                                          KATY, TX 77493
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.27        State what the contract           MASTER SERVICE CONTRACT                       DOMINION ENERGY
             or lease is for and the                                                         925 WHITE OAKS BOULEVARD
             nature of the debtor’s                                                          BRIDGEPORT, WV 26330
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.28        State what the contract           VENDOR - TRAVEL AGENCY FOR                    DRURY INN & SUITES
             or lease is for and the           ACCOMODATIONS FOR 2020                        13075 MANCHESTER ROAD
             nature of the debtor’s                                                          SUITE 100
             interest                                                                        ST. LOUIS, MO 63131
                                                                                             USA
             State the term remaining          12/31/2020

             List the contract number
             of any government
             contract




Official Form 206G                                       Schedule G: Executory Contracts and Unexpired Leases                                          Page 5 of 14
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        List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                             whom the debtor has an executory contract or unexpired lease


 2.29        State what the contract           UTILITY - POWER SALES AGREEMENT                 ENTRUST ENERGY INC.
             or lease is for and the                                                           PO BOX 731396
             nature of the debtor’s                                                            DALLAS, TX 75373-1396
             interest                                                                          USA

             State the term remaining          10/7/2023

             List the contract number
             of any government
             contract

 2.30        State what the contract           ERNST & YOUNG -NIGERIA 2020.01.28               ERNST & YOUNG
             or lease is for and the                                                           10TH FLOOR UBA HOUSE
             nature of the debtor’s                                                            57, MARINA
             interest                                                                          P.O. BOX 2442
                                                                                               MARINA LAGOS, N/A N/A
             State the term remaining          UPON NOTICE OR UNTIL COMPLETE                   NIGERIA

             List the contract number
             of any government
             contract

 2.31        State what the contract           GSA                                             EXCEL DRILLING
             or lease is for and the                                                           P.O. BOX 7034
             nature of the debtor’s                                                            BOZEMAN, MT 59771
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.32        State what the contract           GSA                                             EXPEDITED LOGISTICS (ELF'S)
             or lease is for and the                                                           PO BOX 62127
             nature of the debtor’s                                                            HOUSTON, TX 77205
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.33        State what the contract           MASTER AGREEMENT FOR                            FAIRFIELD INDUSTRIES INC. D/B/A FAIRFIELD
             or lease is for and the           GEOPHYSICAL SERVICES                            GEOTECHNOLOGIES
             nature of the debtor’s                                                            9811 KATY FREEWAY, SUITE 1200
             interest                                                                          HOUSTON, TX 77024
                                                                                               USA
             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.34        State what the contract           GSA                                             FLAGGER FORCE
             or lease is for and the                                                           8170 ADAMS DRIVE
             nature of the debtor’s                                                            HUMMELSTOWN, PA 17036
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract




Official Form 206G                                         Schedule G: Executory Contracts and Unexpired Leases                                          Page 6 of 14
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        List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                             whom the debtor has an executory contract or unexpired lease


 2.35        State what the contract           GSA                                             GREYCO PERSONNEL SERVICES, LLC
             or lease is for and the                                                           10550 BISSONNET STE 100
             nature of the debtor’s                                                            HOUSTON, TX 77099
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.36        State what the contract           MASTER AGREEMENT FOR                            GUNNISON ENERGY LLC
             or lease is for and the           GEOPHYSICAL SERVICES                            1601 FORUM PLACE , SUITE 1400
             nature of the debtor’s                                                            WEST PALM BEACH, FL 33401
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.37        State what the contract           SUPPLEMENTAL AGREEMENT NO. 1                    GUNNISON ENERGY LLC
             or lease is for and the                                                           1601 FORUM PLACE , SUITE 1400
             nature of the debtor’s                                                            WEST PALM BEACH, FL 33401
             interest                                                                          USA

             State the term remaining          UNTIL COMPLETE

             List the contract number
             of any government
             contract

 2.38        State what the contract           RENTAL AGREEMENT                                H2O OFFICE (PURE WATER)
             or lease is for and the                                                           600 KENRICK DR., SUITE C29
             nature of the debtor’s                                                            HOUSTON, TX 77060
             interest                                                                          USA

             State the term remaining          3/26/2021

             List the contract number
             of any government
             contract

 2.39        State what the contract           GSA                                             HELIQWEST INTERNATIONAL
             or lease is for and the                                                           11915 AIRPORT WAY
             nature of the debtor’s                                                            BROOMFIELD, CO 80021
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.40        State what the contract           GSA                                             HILLSBORO AVIATION
             or lease is for and the                                                           3845 NE 30TH AVENUE
             nature of the debtor’s                                                            HILLSBORO, OR 97124
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract




Official Form 206G                                         Schedule G: Executory Contracts and Unexpired Leases                                          Page 7 of 14
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        List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                             whom the debtor has an executory contract or unexpired lease


 2.41        State what the contract           SERVICE AGREEMENT                               HOLDER'S PEST SOLUTIONS
             or lease is for and the                                                           10530 ROCKLEY ROAD, SUITE 110
             nature of the debtor’s                                                            HOUSTON, TX 77099
             interest                                                                          USA

             State the term remaining          UNKNOWN

             List the contract number
             of any government
             contract

 2.42        State what the contract           SERVICE AGREEMENT                               HOLDER'S PEST SOLUTIONS
             or lease is for and the                                                           10530 ROCKLEY ROAD, SUITE 110
             nature of the debtor’s                                                            HOUSTON, TX 77099
             interest                                                                          USA

             State the term remaining          UNKNOWN

             List the contract number
             of any government
             contract

 2.43        State what the contract           SERVICE AGREEMENT                               HOLDER'S PEST SOLUTIONS
             or lease is for and the                                                           10530 ROCKLEY ROAD, SUITE 110
             nature of the debtor’s                                                            HOUSTON, TX 77099
             interest                                                                          USA

             State the term remaining          UNKNOWN

             List the contract number
             of any government
             contract

 2.44        State what the contract           GSA                                             JRP TRANSPORT
             or lease is for and the                                                           PO BOX 1017
             nature of the debtor’s                                                            BERTHOUD, CO 80513
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.45        State what the contract           SERVICE AGREEMENT                               LANDIN LANDSCAPE
             or lease is for and the                                                           114 BELKNAP CT
             nature of the debtor’s                                                            SUGAR LAND, TX 77478
             interest                                                                          USA

             State the term remaining          9/10/2021

             List the contract number
             of any government
             contract

 2.46        State what the contract           GSA WITH ADDENDUMS                              LEE TRANSERVICES, INC.
             or lease is for and the                                                           415 SOUTH FIRST STREET, STE 200
             nature of the debtor’s                                                            LUFKIN, TX 75901
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract




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        List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.47        State what the contract           GSA                                           LONEWOLF OPERATING
             or lease is for and the                                                         7061 COMMERCIAL AVE.
             nature of the debtor’s                                                          BILLINGS, MT 59101
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.48        State what the contract           TEMPORARY OCCUPANCY                           LOOP 540 LLC
             or lease is for and the           AGREEMENT                                     8823 LOOP 540
             nature of the debtor’s                                                          BEASELY, TX 77417
             interest                                                                        USA

             State the term remaining          UNKNOWN

             List the contract number
             of any government
             contract

 2.49        State what the contract           MASTER SERVICE AGREEMENT                      MERIT ENERGY COMPANY LLC
             or lease is for and the                                                         13727 NOEL RD., SUITE 1200, TOWER 2
             nature of the debtor’s                                                          DALLAS, TX 75240
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.50        State what the contract           MASTER AGREEMENT FOR                          MIDWEST AGENERGY GROUP
             or lease is for and the           GEOPHYSICAL SERVICES                          2841 3RD STREET SW
             nature of the debtor’s                                                          UNDERWOOD, ND 58576
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.51        State what the contract           OCCUPANCY AGREEMENT                           OLD RIVER MARINE
             or lease is for and the                                                         1201 E. BRAZOS ST.
             nature of the debtor’s                                                          PO BOX 2258
             interest                                                                        FREEPORT, TX 77542
                                                                                             USA
             State the term remaining          MONTH-TO-MONTH

             List the contract number
             of any government
             contract

 2.52        State what the contract           GSA                                           PATHFINDER NAVIGATION
             or lease is for and the                                                         22503 LAIN ROAD
             nature of the debtor’s                                                          SPRING, TX 77379
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract




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        List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                             whom the debtor has an executory contract or unexpired lease


 2.53        State what the contract           GSA                                             PEGASUS LOGISTICS
             or lease is for and the                                                           306 AIRLINE DRIVE, SUITE 100
             nature of the debtor’s                                                            COPPELL, TX 75019
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.54        State what the contract           MSA                                             PENNSYLVANIA GENERAL ENERGY COMPANY, LLC
             or lease is for and the                                                           120 MARKET STREET
             nature of the debtor’s                                                            WARREN, PA 16365
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.55        State what the contract           GSA                                             POWDER RIVER TRANSPORTATION
             or lease is for and the                                                           1700 E. HWY 14-16
             nature of the debtor’s                                                            GILLETTE, WY 82716
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.56        State what the contract           MASTER AGREEMENT                                ROUNDTREE & ASSOCIATES, INC.
             or lease is for and the                                                           210 TRACE COLONY PARK DR
             nature of the debtor’s                                                            RIDGELAND, MS 39157
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.57        State what the contract           BUSINESS ACCOUNT AGREEMENT                      SHELL FLEET NAVIGATOR
             or lease is for and the                                                           SHELL TECHNOLOGY CENTER
             nature of the debtor’s                                                            3333 HIGHWAY 6
             interest                                                                          HOUSTON, TX 77082
                                                                                               USA
             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.58        State what the contract           CUSTOMER SERVICE AGREEMENT                      SHRED-IT
             or lease is for and the                                                           10801 KEMPWOOD DRIVE
             nature of the debtor’s                                                            HOUSTON, TX 77043
             interest                                                                          USA

             State the term remaining          8/13/2023

             List the contract number
             of any government
             contract




Official Form 206G                                         Schedule G: Executory Contracts and Unexpired Leases                                         Page 10 of 14
 Debtor                 Case 20-34306 Document 255 Filed in TXSB
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        List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                             whom the debtor has an executory contract or unexpired lease


 2.59        State what the contract           GSA                                             SOUTH COAST HELICOPTER
             or lease is for and the                                                           230 N DALE PLACE, SUITE 100
             nature of the debtor’s                                                            FULLERTON, CA 92833
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.60        State what the contract           AGREEMENT                                       SOUTHWEST SECURITY SYSTEMS
             or lease is for and the                                                           17117 WESTHEIMER #102
             nature of the debtor’s                                                            HOUSTON, TX 77082
             interest                                                                          USA

             State the term remaining          9/10/2023

             List the contract number
             of any government
             contract

 2.61        State what the contract           GSA                                             SPECIAL FUEL SERVICES
             or lease is for and the                                                           PO BOX 159
             nature of the debtor’s                                                            KOUNTZE, TX 77625
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.62        State what the contract           COMMERCIAL SERVICE AGREEMENT                    SWN PRODUCTION COMPANY, LLC
             or lease is for and the                                                           10000 ENERGY DRIVE
             nature of the debtor’s                                                            SPRING, TX 77389
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.63        State what the contract           GSA WITH ADDENDUM                               SWZ SERVICES
             or lease is for and the                                                           PO BOX 1252
             nature of the debtor’s                                                            PREMONT, TX 78375
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.64        State what the contract           MASTER SERVICE AGREEMENT                        TGS-NOPEC GEOPHYSICAL COMPANY
             or lease is for and the                                                           10451 CLAY ROAD
             nature of the debtor’s                                                            HOUSTON, TX 77041
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract




Official Form 206G                                         Schedule G: Executory Contracts and Unexpired Leases                                         Page 11 of 14
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             (Name)



        List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.65        State what the contract           SUPPLEMENT - PROJECT AGREEMENT                TGS-NOPEC GEOPHYSICAL COMPANY
             or lease is for and the                                                         10451 CLAY ROAD
             nature of the debtor’s                                                          HOUSTON, TX 77041
             interest                                                                        USA

             State the term remaining          12/31/2020

             List the contract number
             of any government
             contract

 2.66        State what the contract           GSA WITH ADDENDUM                             TRAFFIC REGULATORS
             or lease is for and the                                                         7 REGULATORS LANE, SUITE # 1
             nature of the debtor’s                                                          AVOCA, PA 18641
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.67        State what the contract           LICENSE AGREEMENT                             TRAFFORD COMMERCE CENTER, INC.
             or lease is for and the                                                         1500 COMMERCE CIRCLE
             nature of the debtor’s                                                          TRAFFORD, PA 15085
             interest                                                                        USA

             State the term remaining          MONTH-TO-MONTH

             List the contract number
             of any government
             contract

 2.68        State what the contract           GSA                                           TRANS PECOS TRUCKING
             or lease is for and the                                                         PO BOX 3588
             nature of the debtor’s                                                          ODESSA, TX 79760
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.69        State what the contract           GSA WITH ADDENDUM                             UNIVERSAL HELICOPTER
             or lease is for and the                                                         P.O. BOX 529, STATION C
             nature of the debtor’s                                                          HAPPY VALLEY-GOOSE BAY, NL A0P 1C0
             interest                                                                        CANADA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.70        State what the contract           GSA WITH ADDENDUM                             URBAN SEISMIC
             or lease is for and the                                                         PO BOX 1266
             nature of the debtor’s                                                          NEW ULM, TX 78950
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract




Official Form 206G                                       Schedule G: Executory Contracts and Unexpired Leases                                         Page 12 of 14
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             (Name)



        List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                             whom the debtor has an executory contract or unexpired lease


 2.71        State what the contract           MASTER GEOPHYSICAL DATA                         VENTURE OIL & GAS, INC.
             or lease is for and the           ACQUISITION AGREMENT                            207 SOUTH 13TH AVENUE
             nature of the debtor’s                                                            LAUREL, MS 39440
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.72        State what the contract           SERVICES AGREEMENT                              VIBRA-TECH SERVICES
             or lease is for and the                                                           P.O. BOX 266
             nature of the debtor’s                                                            GLASGOW, KY 42141
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.73        State what the contract           CONTRACT SOFTWARE LICENSE                       WESTERNGECO LLC
             or lease is for and the                                                           10001 RICHMOND AVENUE
             nature of the debtor’s                                                            HOUSTON, TX 77042-4299
             interest                                                                          USA

             State the term remaining          12/31/2020

             List the contract number
             of any government
             contract

 2.74        State what the contract           TEMPORARY OCCUPANCY                             WESTLAKE FARMS INC.
             or lease is for and the           AGREEMENT                                       23311 NEWTON AVENUE
             nature of the debtor’s                                                            STRATFORD, CA 93266-9732
             interest                                                                          USA

             State the term remaining          MONTH-TO-MONTH

             List the contract number
             of any government
             contract

 2.75        State what the contract           GSA WITH ADDENDUM                               WILDLIFE SPECIALISTS
             or lease is for and the                                                           942 CAMP TRAIL RD.
             nature of the debtor’s                                                            QUAKERTOWN, PA 18951
             interest                                                                          USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract

 2.76        State what the contract           COMMERCIAL LEASE                                WSCB PROPERTIES (ROSENBERG)
             or lease is for and the                                                           PO BOX 50
             nature of the debtor’s                                                            THOMPSONS, TX 77481
             interest                                                                          USA

             State the term remaining          12/1/2020

             List the contract number
             of any government
             contract




Official Form 206G                                         Schedule G: Executory Contracts and Unexpired Leases                                         Page 13 of 14
 Debtor                 Case 20-34306 Document 255 Filed in TXSB
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             (Name)



        List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.77        State what the contract           MASTER SERVICE AGREEMENT                      XTO ENERGY INC.
             or lease is for and the                                                         22777 SPRINGWOODS VILLAGE PARKWAY
             nature of the debtor’s                                                          SPRING, TX 77389
             interest                                                                        USA

             State the term remaining          UPON NOTICE

             List the contract number
             of any government
             contract




Official Form 206G                                       Schedule G: Executory Contracts and Unexpired Leases                                         Page 14 of 14
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  Fill in this information to identify the case:

 Debtor        SAExploration Seismic Services (US), LLC


 United States Bankruptcy Court for the:      Southern District of Texas


 Case number          20-34309
  (if known)
                                                                                                                                                         þ Check if this is an
                                                                                                                                                              amended filing


 Official Form 206H
 Schedule H: Codebtors                                                                                                                                                         4/19

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
 Additional Page to this page.


 1.     Does the debtor have any codebtors?
        ¨      No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        þ      Yes.


 2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
        creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
        schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                       Column 2: Creditor
                                                                                                                                                              Check all schedules
                Name                                  Mailing Address                                              Name
                                                                                                                                                              that apply

 2.1            NES, LLC                              1160 DAIRY ASHFORD                                           CANTOR FITZGERALD                          þ D
                                                      SUITE 160                                                    SECURITIES AS AGENT FOR                    ¨ E/F
                                                      HOUSTON, TX 77079                                            THIRD AMENDED AND                          ¨ G
                                                                                                                   RESTATED CREDIT AND
                                                                                                                   SECURITY AGREEMENT

 2.2            NES, LLC                              1160 DAIRY ASHFORD                                           DELAWARE TRUST COMPANY                     þ D
                                                      SUITE 160                                                    AS AGENT FOR TERM LOAN                     ¨ E/F
                                                      HOUSTON, TX 77079                                            AND SECURITY AGREEMENT                     ¨ G

 2.3            NES, LLC                              1160 DAIRY ASHFORD                                           WILMINGTON SAVINGS FUND                    þ D
                                                      SUITE 160                                                    SOCIETY, FSB AS TRUSTEE                    ¨ E/F
                                                      HOUSTON, TX 77079                                            FOR 6.00% SENIOR SECURED                   ¨ G
                                                                                                                   CONVERTIBLE NOTES DUE
                                                                                                                   2023

 2.4            SAEXPLORATION                         1160 DAIRY ASHFORD                                           CANTOR FITZGERALD                          þ D
                HOLDINGS, INC.                        SUITE 160                                                    SECURITIES AS AGENT FOR                    ¨ E/F
                                                      HOUSTON, TX 77079                                            THIRD AMENDED AND                          ¨ G
                                                                                                                   RESTATED CREDIT AND
                                                                                                                   SECURITY AGREEMENT

 2.5            SAEXPLORATION                         1160 DAIRY ASHFORD                                           DELAWARE TRUST COMPANY                     þ D
                HOLDINGS, INC.                        SUITE 160                                                    AS AGENT FOR TERM LOAN                     ¨ E/F
                                                      HOUSTON, TX 77079                                            AND SECURITY AGREEMENT                     ¨ G

 2.6            SAEXPLORATION                         1160 DAIRY ASHFORD                                           WILMINGTON SAVINGS FUND                    þ D
                HOLDINGS, INC.                        SUITE 160                                                    SOCIETY, FSB AS TRUSTEE                    ¨ E/F
                                                      HOUSTON, TX 77079                                            FOR 6.00% SENIOR SECURED                   ¨ G
                                                                                                                   CONVERTIBLE NOTES DUE
                                                                                                                   2023

 2.7            SAEXPLORATION SUB, INC.               1160 DAIRY ASHFORD                                           CANTOR FITZGERALD                          þ D
                                                      SUITE 160                                                    SECURITIES AS AGENT FOR                    ¨ E/F
                                                      HOUSTON, TX 77079                                            THIRD AMENDED AND                          ¨ G
                                                                                                                   RESTATED CREDIT AND
                                                                                                                   SECURITY AGREEMENT

 2.8            SAEXPLORATION SUB, INC.               1160 DAIRY ASHFORD                                           DELAWARE TRUST COMPANY                     þ D
                                                      SUITE 160                                                    AS AGENT FOR TERM LOAN                     ¨ E/F
                                                      HOUSTON, TX 77079                                            AND SECURITY AGREEMENT                     ¨ G




Official Form 206H                                                           Schedule H: Codebtors                                                                       Page 1 of 2
 Debtor                Case 20-34306 Document 255 Filed in TXSB
             SAExploration Seismic Services (US), LLC              on 10/23/2020-34309
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             (Name)


        Additional Page if Debtor Has More Codebtors

        Column 1: Codebtor                                                                     Column 2: Creditor
                                                                                                                            Check all schedules
             Name                                 Mailing Address                               Name
                                                                                                                            that apply

 2.9         SAEXPLORATION SUB, INC.              1160 DAIRY ASHFORD                            WILMINGTON SAVINGS FUND    þ D
                                                  SUITE 160                                     SOCIETY, FSB AS TRUSTEE    ¨ E/F
                                                  HOUSTON, TX 77079                             FOR 6.00% SENIOR SECURED   ¨ G
                                                                                                CONVERTIBLE NOTES DUE
                                                                                                2023

 2.10        SAEXPLORATION, INC.                  1160 DAIRY ASHFORD                            CANTOR FITZGERALD          þ D
                                                  SUITE 160                                     SECURITIES AS AGENT FOR    ¨ E/F
                                                  HOUSTON, TX 77079                             THIRD AMENDED AND          ¨ G
                                                                                                RESTATED CREDIT AND
                                                                                                SECURITY AGREEMENT

 2.11        SAEXPLORATION, INC.                  1160 DAIRY ASHFORD                            DELAWARE TRUST COMPANY     þ D
                                                  SUITE 160                                     AS AGENT FOR TERM LOAN     ¨ E/F
                                                  HOUSTON, TX 77079                             AND SECURITY AGREEMENT     ¨ G

 2.12        SAEXPLORATION, INC.                  1160 DAIRY ASHFORD                            WILMINGTON SAVINGS FUND    þ D
                                                  SUITE 160                                     SOCIETY, FSB AS TRUSTEE    ¨ E/F
                                                  HOUSTON, TX 77079                             FOR 6.00% SENIOR SECURED   ¨ G
                                                                                                CONVERTIBLE NOTES DUE
                                                                                                2023




Official Form 206H                                                     Schedule H: Codebtors                                         Page 2 of 2
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  Fill in this information to identify the case:

 Debtor        SAExploration Seismic Services (US), LLC


 United States Bankruptcy Court for the:      Southern District of Texas


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  (if known)




 Official Form 202

 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    04/19

 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
 and 3571.


                Delcaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          þ Schedule H: Codebtors (Official Form 206H)

          þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          þ Amended Schedule

          ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          ¨ Other document that requires a declaration

           I declare under penalty of perjury that the foregoing is true and correct.



           Executed on 10/22/2020
                             MM / DD / YYYY
                                                                      û    /s/ John Simmons
                                                                           Signature of individual signing on behalf of debtor



                                                                           John Simmons
                                                                           Printed name



                                                                           CFO and Vice President
                                                                           Position or relationship to debtor




Official Form 202                                         Declaration Under Penalty of Perjury for Non-Individual Debtors
